Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 1 of 72




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  UNITED STATES OF AMERICA,                   )       CIVIL ACTION NO. ______________
  THE STATE OF COLORADO,                      )
  EX REL. KIMBERLY BEGANO                     )
                                              )
                 Plaintiffs,                  )
                                              )
                 v.                           )
                                              )
  CENTURA HEALTH CORPORATION;                 )       FILED IN CAMERA AND
  PEDIATRIC PULMONARY AND                     )       UNDER SEAL
  SLEEP SPECIALISTS P.L.L.C., D/B/A           )
  PEDIATRIC SLEEP SPECIALISTS,                )
  ALAIN EID, M.D.,                            )
  CHRISTOPHER PEKURNY, RRT,                   )
  and VIRAL KOTHARI, M.D.                     )
                                              )       DO NOT PLACE ON PACER
                                              )
                 Defendants.                  )       JURY TRIAL DEMANDED

                   COMPLAINT FOR DAMAGES AND OTHER RELIEF
                      UNDER THE QUI TAM PROVISIONS OF THE
                  FEDERAL FALSE CLAIMS ACT [31 U.S.C. § 3729 et seq.]
                  AND THE COLORADO MEDICAID FALSE CLAIMS ACT
                          [Colo. Rev. Stat. § 25.4-4-303.4 et seq.]

         On behalf of the United States of America and the State of Colorado, plaintiff-relator

  Kimberly Begano (“Relator”) brings this action against Centura Health Corporation, Pediatric

  Pulmonary and Sleep Specialists, P.L.L.C d/b/a Pediatric Sleep Specialists, Alain Eid, M.D..,

  Christopher Pekurny, R.R.T., and Viral Kothari, M.D., for violations of the Federal False Claims

  Act, 31 U.S.C. § 3729 et seq. and the Colorado Medicaid False Claims Act, Colo. Rev. Stat. §

  25.4-4-303.4 et seq.

  I.     INTRODUCTION

         1.      This is an action to recover damages and civil penalties on behalf of the United

  States of America and the State of Colorado arising from false and/or fraudulent statements,


                                                  1
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 2 of 72




  records, and claims made or caused to be made by defendants Centura Health Corporation

  (“Centura”), Pediatric Pulmonary and Sleep Specialists P.L.L.C. d/b/a Pediatric Sleep Specialists

  (“Pediatric Sleep Specialists”), Dr. Alain Eid (“Dr. Eid”), Christopher Pekurny, RRT (“Mr.

  Pekurny”), and Dr. Viral Kothari (“Dr. Kothari”) (collectively, “Defendants”) in violation of the

  Federal False Claims Act, 31 U.S.C. §3729 et seq., and the Colorado Medicaid False Claims Act,

  Colo. Rev. Stat. § 25.4-4-303.4 et seq.

         A.      Brief Background on Polysomnographic and CPAP Testing

         2.      This case involves unlawful billing practices related to the operation of sleep

  laboratories. At sleep laboratories, patients receive polysomnographic diagnostic sleep tests (“PSG

  tests”) to diagnose sleep disorders. PSG tests typically involve a patient staying overnight at a

  sleep laboratory, where they are hooked up to a number of electrodes used to monitor their heart

  rate, brain activity, breathing, and body movement during sleep.

         3.      The results of the PSG test are called a polysomnogram. The polysomnogram

  receives a numerical score based on the number of certain defined respiratory events (cessations

  of breathing) experienced by a patient per hour. This score can be used to diagnose a patient with

  obstructive sleep apnea (“OSA”), one of the most common sleep disorders.

         4.      When an adult patient is diagnosed with OSA, a doctor may prescribe a second

  overnight sleep test using a CPAP (continuous positive airway pressure) machine, a medical device

  that is worn on the patient’s face and clears breathing obstructions. If the patient responds

  positively to the CPAP test (referred to as a “titration”), they may be prescribed a CPAP device to

  wear at home on a nightly basis.

         5.      While PSG and CPAP tests must be physician-prescribed, they are typically

  performed by non-physician sleep technologists, who are subject to a number of federal and state

  regulations, including credentialing requirements.
                                                  2
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 3 of 72




         6.      In Colorado, a sleep technologist must be certified by a nationally recognized

  accreditation authority in order for their services to be billed to Medicare or TRICARE. Similarly,

  for a sleep technologist’s services to be billed to Colorado Medicaid, the sleep technologist must

  either be certified by an accreditation authority, or practice under the direct supervision of a

  physician, credential pulmonary technologist, or credentialed sleep technologist.

         B.      Brief Background on the Parties

         7.      Since 2019, Relator has been credentialed as a sleep technologist through the Board

  of Registered Polysomnographic Technologists (BRPT). She is also a Certified Nursing Assistant

  (CNA). She has worked at four different sleep laboratories, and is currently employed as a sleep

  technologist at UCHealth Memorial Hospital and a sleep coordinator at Sleep Well Southern

  Colorado. Prior to becoming a sleep technologist, she worked extensively in the medical field,

  including as a phlebotomist, an admissions attendant, and, from 2000 to 2011, the owner and

  operator of a medical transcription company. From January 2021 to April 2021, she worked as a

  sleep technologist at the Penrose-St. Francis Sleep Disorders Center (“Penrose-St. Francis Sleep

  Center”), a facility owned and operated by Defendant Centura.

         8.      Centura is a hospital system that operates eight sleep laboratories throughout

  Colorado, including Penrose-St. Francis Sleep Center. Penrose-St. Francis Sleep Center is located

  in Colorado Springs, Colorado, on the campus of St. Francis Hospital, a hospital also owned and

  operated by Centura. It sees six patients a night, seven days a week. Defendant Dr. Eid is the

  Medical Director of Penrose-St. Francis Sleep Center. Defendant Mr. Pekurny is the Manager of

  Respiratory Services at St. Francis Hospital, and was Relator’s direct supervisor while she worked

  at Penrose-St. Francis Sleep Center. In Relator’s estimation, about eighty percent of patients seen

  at Penrose-St. Francis Sleep Center were insured by Medicare, Medicaid, or TRICARE.



                                                  3
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 4 of 72




         9.      During the course of her employment, Relator observed and reported a number of

  illegal practices occurring at Penrose-St. Francis Sleep Center. The most common and systemic of

  these practices involved Centura allowing non-credentialed sleep technologists to conduct PSG

  and CPAP tests. This and other unlawful practices resulted, on information and belief, in the

  presentation of false claims to Medicare, Tricare, and Colorado Medicaid. Relator resigned from

  Centura when Mr. Pekurny informed her that participation and complicity in the organization’s

  unlawful practices was a condition of continued employment.

         10.     In addition to Penrose-St. Francis Sleep Center, Centura also operates several other

  sleep laboratories: Four Corners Sleep Disorders Center (“Four Corners”), located in Durango,

  Colorado; The Sleep Disorder Center at St. Thomas More Hospital (“St. Thomas More”), located

  in Canon City, Colorado; the Sleep Disorder Center at Castle Rock Adventist Hospital (“Castle

  Rock”), located in Castle Rock, Colorado; the Sleep Disorder Center at St. Anthony Summit

  Medical Center (“St. Anthony Summit”), located in Frisco, Colorado; the Sleep Disorder Center

  at St. Anthony Hospital (“St. Anthony Hospital”), located in Lakewood, Colorado; the Sleep

  Disorders Center at Parker (“Parker”), located in Parker, Colorado; and the Sleep Disorders Center

  at Porter (“Porter”), located in Denver, Colorado. Additionally, it formerly operated the now-

  defunct sleep laboratory at St. Mary-Corwin Medical Center (“St. Mary-Corwin”), located in

  Pueblo, Colorado. While Relator worked only at Penrose-St. Francis Sleep Center, based on her

  review of Centura job listings, she believes that at least one of the unlawful billing practices she

  observed, namely billings for the services of unsupervised, non-credentialed sleep technologists,

  occurred and continues to occur at all of Centura’s sleep laboratories.

         11.     Pediatric Sleep Specialists is a medical practice owned and operated by Dr. Kothari.

  On information and belief, he is the only physician employed by the practice. Pediatric Sleep



                                                   4
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 5 of 72




  Specialist advertises itself as providing evaluation and treatment of sleep disorders to young

  children and teenagers throughout Colorado. However, Pediatric Sleep Specialists does not own

  or operate sleep laboratories. Rather, it rents space at several sleep laboratories across Colorado,

  including Penrose-St. Francis Sleep Center. On its website, Pediatric Sleep Specialists lists St.

  Francis Hospital—on whose campus Penrose-St. Francis Sleep Center is located—as an “affiliated

  hospital.” Despite this claim of affiliation, Pediatric Sleep Specialists is not owned by Centura.

          12.       While Dr. Kothari prescribes PSG and CPAP tests that are conducted at Penrose-

  St. Francis Sleep Center, neither he nor any employee of Pediatric Sleep Specialists performs these

  tests. Rather, Pediatric Sleep Specialists contracts with Centura for use of Penrose-St. Francis

  Sleep Center’s sleep technologist staff. During her employment at Penrose-St. Francis Sleep

  Center, Relator became aware of several unlawful billing practices that, on information and belief,

  resulted, and continue to result, in the presentation by Pediatric Sleep Specialists of false claims to

  Medicare, TRICARE, and Medicaid, including failure to perform pre-test physical examinations,

  and the medically inappropriate prescribing of CPAP tests to young children. While these claims

  are for services provided at Penrose-St. Francis Sleep Center, they are not presented by Centura.

  Rather, Pediatric Sleep Specialists independently bills Medicare, TRICARE, and Medicaid for its

  sleep tests.

          C.        The False Claims

          13.       The false claims presented by Defendants Centura and Pediatric Sleep Specialists

  to Medicare, TRICARE, and Medicaid fall into six general categories:

                 a. Claims made to Medicare and TRICARE by Centura and Pediatric Sleep Specialists

                    for PSG and CPAP tests performed by sleep technologists who were not

                    credentialed by an appropriate accreditation authority;



                                                     5
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 6 of 72




               b. Claims made to Medicare, TRICARE, and Medicaid by Centura for PSG and CPAP

                  tests performed by sleep technologists without an adequate level of physician

                  supervision, or which were scored by a sleep technologist instead of a physician;

               c. Claims made to Medicare, TRICARE, and Medicaid by Pediatric Sleep Specialists

                  for medically unnecessary CPAP tests performed on children, despite the fact that

                  relevant medical authorities consider pediatric CPAP tests to be inappropriate for

                  most children;

               d. Claims made to Medicare, TRICARE, and Medicaid by Centura for CPAP tests

                  that were not prescribed by a physician;

               e. Claims made to Medicare, TRICARE, and Medicaid by Pediatric Sleep Specialists

                  for PSG and CPAP tests whose medical necessity had not been confirmed by a prior

                  physical examination, or whose medical necessity had not been otherwise

                  adequately documented; and

               f. Claims made to Medicare, TRICARE, and Medicaid by Pediatric Sleep Specialists

                  for PSG and CPAP tests that were not performed by Pediatric Sleep Specialists’

                  employees.

         14.      These claims caused damages to federal and state health care programs. As of

  2021, the Medicare reimbursement rates for the initial PSG test and follow-up CPAP test are

  $652.16 and $680.87, respectively. Considering, in Relator’s estimation, that Penrose-St. Francis

  Sleep Center alone performs over two thousand sleep studies a year, the total amount overbilled

  to the federal and state health care programs is likely in the tens of million dollars.




                                                    6
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 7 of 72




                   1.      Centura and Pediatric Sleep Specialists falsely bill Medicare and
                           TRICARE for PSG and CPAP tests performed by technologists who
                           lacked the appropriate credentials.

          15.      The Local Coverage Determination (LCD) for Outpatient Sleep Studies (L35050)

  applies to claims for PSG and CPAP tests made to Medicare and TRICARE in Colorado.

  According to LC35050, PSG or CPAP tests must be attended by “an appropriately trained

  technologist.” An “appropriately trained technologist” is defined as a technologist who has

  received an appropriate credential from a recognized accreditation authority, including the Board

  of Registered Polysomnographic Technologists, the National Board of Respiratory Care, and the

  American Board of Sleep Medicine. 1

          16.      While Relator was employed at Penrose-St. Francis Sleep Center, Centura

  employed multiple sleep technologists who were not credentialed by any recognized accreditation

  authority. Out of nine sleep technologists who administered PSG and CPAP tests, only four,

  Relator included, possessed the necessary credential. The five non-credentialed technologists

  routinely administered PSG and CPAP tests without supervision. Relator has in her possession

  schedules that show that shifts were frequently staffed with no credentialed technologists. Tests

  performed by these non-credentialed technologists were, on information and belief, unlawfully

  billed to Medicare and TRICARE.

          17.      Centura routinely posts job listings for technologist positions on classified sites like

  linkedin.com and indeed.com. Since the termination of her employment, Relator has obtained

  multiple job listings for technologist positions at Centura’s Four Corners, St. Thomas More, and

  Penrose-St. Francis Sleep Center sleep laboratories. Each of these job listings includes identical



  1
   Local Coverage Determination L35050, effective 10/01/2015, revised 1/1/2021, available at
  https://www.cms.gov/medicare-coverage-database/details/lcd-
  details.aspx?lcdid=35050&ver=55&bc=CAAAAAAAAAAA

                                                         7
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 8 of 72




  language describing an applicant’s desired qualifications: “Registered Polysomnographic

  Technologist (RPSGT) Credential from the Board of Registered Polysomnographic Technologists

  (BRPT) upon hire or within 2 years” (emphasis added). The job listings also specify “The

  Polysomnographic Technologist must be able to work independently” (emphasis added). These

  job listings evidence a Centura-wide policy of hiring non-credentialed technologists and allowing

  them to perform PSG and CPAP tests without supervision for a period of two years.

         18.     Further, during Relator’s employment, she encountered non-credentialed

  technologists who had been working without credentials for significantly more than two years.

  These non-credentialed technologists had failed their licensure tests on multiple occasions. Mr.

  Pekurny, acting in his capacity as the Manager of Respiratory Services, assured these non-

  credentialed technologists that their employment was not in jeopardy.

         19.     Dr. Kothari and Pediatric Sleep Specialists are aware of this Centura practice and

  nonetheless, on information and belief, continue to bill Medicare and TRICARE for services

  performed by non-credentialed technologists.

                 2.      Centura falsely bills for Medicare, TRICARE, and Medicaid for tests
                         performed under inadequate physician supervision, and for tests
                         whose results were scored by non-physicians.

         20.     Under Medicare and TRICARE regulations, a sleep technologist, credentialed or

  otherwise, must work under the general supervision of a physician. 42 C.F.R. §410.32(b)(3). Under

  Colorado Medicaid rules, a non-credentialed technologist must work under the “Direct

  Supervision of an enrolled physician,” or, alternatively, under the direct supervision of “certified

  pulmonary function technologists, registered pulmonary technologists, [or] registered

  polysomnographic technologists.” 10 CCR 2505-8.200.2.D(1); CO Rev Stat §12-41.5-

  110(2)(a)(II) (2017); CO Rev Stat §12-41.5-110(2)(g) (2017).



                                                   8
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 9 of 72




          21.     Additionally, under the Local Coverage Determination governing Medicare and

  TRICARE in Colorado, “[a]ll Sleep Studies...shall be interpreted by an appropriate physician with

  training in this area.”

          22.     Despite these requirements, neither Dr. Eid nor any other physician provided even

  adequate general supervision of Penrose-St. Francis Sleep Center’s sleep technologists, much less

  direct supervision of the non-credentialed technologists. Indeed, in her time at Penrose-St. Francis

  Sleep Center, Relator never interacted with Dr. Eid directly or indirectly, and only became aware

  of his name and position the day she resigned from Centura. Further, credentialed sleep

  technologists like Relator did not have any supervisory authority over the non-credentialed

  technologists. Non-credentialed technologists worked entirely without legally required direct

  supervision. These practices resulted in, on information and belief, the presentation of false claims

  to Medicare, Medicaid, and TRICARE.

          23.     Given the job listings discussed in section I.C.1, which make clear that Centura has

  a policy of hiring non-credentialed sleep technologists to perform PSG and CPAP tests

  independently, on information and belief, Centura allows non-credentialed technologists to work

  without direct supervision in all of its sleep laboratories, resulting in additional false claims to

  Medicare, Medicaid, and TRICARE.

          24.     In addition to Centura’s failure to provide adequate physician supervision, Centura

  failed to provide physician interpretation of sleep studies, despite Medicare and TRICARE

  regulations mandating physician interpretation. PSG and CPAP tests were not interpreted and

  scored by Dr. Eid or any other physician. Rather, Athena Stroud, a sleep technologist who worked

  the dayshift at Penrose-St. Francis Sleep Center, was primarily responsible for interpreting and

  scoring sleep tests. In some instances, nightshift sleep technologists would also interpret these



                                                   9
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 10 of 72




   results “on the fly.” These practices are not permitted under Medicare and TRICARE rules, and

   on information and belief, resulted in the presentation of false claims to these insurers.

                    3.       Pediatric Sleep Specialists falsely bills Medicare, TRICARE, and
                             Medicaid for medically unnecessary CPAP tests performed on
                             children.

           25.      The American Academy of Sleep Medicine and the American Academy of

   Otolaryngology-Head and Neck Surgery Foundation both recommend that CPAP testing not be

   used as a first-line treatment for children diagnosed with Obstructive Sleep Apnea. Rather, both

   organizations recommend tonsillectomy (removal of the tonsils) or adenotonsillectomy (removal

   of the adenoids and tonsils) as the appropriate first-line treatment. CPAP is an appropriate first-

   line treatment for children with OSA only if the child is obese or if they are for some other reason

   a poor candidate for surgical intervention. 2

           26.      Medicare, TRICARE, and Colorado Medicaid will not pay for treatment that is not

   medically necessary. 42 U.S.C. § 1395y(a)(1)(A); 10 CCR 2505-10 8.000(8).

           27.      Rather than refer children diagnosed with OSA for tonsillectomy or

   adenotonsillectomy, Dr. Kothari and Pediatric Sleep Specialists routinely prescribe medically

   unnecessary CPAP tests to children as a first-line treatment, even though these children are not

   obese and are not otherwise poor candidates for surgery. These CPAP tests are performed at

   Penrose-St. Francis Sleep Center. These tests often result in profound discomfort for the children,

   without any corresponding medical benefit. Indeed, the only benefit of these tests—money, paid


   2
     Ron B. Mitchell, MD et al., Clinical Practice Guideline: Tonsillectomy in Children (Update), 160 Otolaryngology-
   Head         and       Neck         Surgery      S1,        S2,       S20-S21        (2019),      available     at
   https://journals.sagepub.com/doi/pdf/10.1177/0194599818801757. (“Clinicians should recommend tonsillectomy for
   children with obstructive sleep apnea documented by overnight polysomnography”). The guidelines are publication
   of the American Academy of Otolaryngology-Head and Neck Surgery Foundation (AAO-HNSF). For purposes of
   these guidelines, “[o]besity is defined as body mass index (BMI ≥ 95th percentile.” Id. at S17. AASM has endorsed
   these guidelines. Robin Lloyd, MD et al, Letter to the Editor Regarding the Updated American Academy of
   Otalryngology-Head and Neck Surgery Foundation Clinical Practice Guideline on Tonsillectomy, 15 Journal of
   Clinical Sleep Medicine 363, 363 (2019), available at https://jcsm.aasm.org/doi/pdf/10.5664/jcsm.7650.

                                                          10
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 11 of 72




   by government insurers—accrues exclusively to the provider. On information and belief, Pediatric

   Sleep Specialists has presented false claims for these medically unnecessary tests to Medicare,

   TRICARE, and Medicaid.

                    4.       Centura falsely bills Medicare, TRICARE, and Medicaid for CPAP
                             tests that were not prescribed by a physician.

           28.      Under Medicare, TRICARE, and Colorado Medicaid rules, a “Split Night

   Titration”—a procedure in which a patient receives a PSG test for the first half of the night, and

   then, if the patient’s PSG reaches a certain threshold AHI/RDI score, a CPAP test for the second

   half of the night—may only be prescribed by a physician. L35050; see generally 10 CCR 2505-10

   8.200 et seq. L35050: “The use of CPAP devices is covered under Medicare when ordered and

   prescribed by the licensed treating physician to be used in adult patients with OSA.”. Id.

           29.      Despite the requirements that physicians specifically order split-night titration tests,

   Penrose-St. Francis Sleep Center instructs its sleep technologists to convert PSG tests into split-

   night titrations if a threshold AHI/RDI score is reached in the first several hours of a patient’s test.

   This results, on information and belief, in Centura presenting false claims to Medicare, TRICARE,

   and Medicaid.

                    5.       Pediatric Sleep Specialists falsely bills Medicare, TRICARE, and
                             Medicaid for tests that were prescribed to children without a prior
                             physical examination confirming their medical necessity, or which
                             otherwise lacked adequate documentation of medical necessity.

           30.      Local Coverage Determination 3050 states, “[t]he patient is to be evaluated by a

   physician prior to ordering of [sleep] test.” According to the American Academy of Sleep

   Medicine recommendations, a PSG test should be performed after a “thorough sleep history and a

   physical examination that includes the respiratory, cardiovascular, and neurologic systems.” 3


   3
    Vipesh K. Kapur, MD, MPH et al., Clinical Practice Guideline for Diagnostic Testing for Adult Obstructive Sleep
   Apnea: An American Academy of Sleep Medicine Clinical Practice Guidelines, 13 Journal of Clinical Sleep

                                                          11
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 12 of 72




           31.     However, Dr. Kothari frequently fails to perform a physical examination of

   pediatric patients before prescribing PSG tests. Indeed, Dr. Kothari frequently fails to even meet

   his pediatric patients in person before their test, instead issuing prescriptions via telemedicine.

           32.     Pediatric Sleep Specialists also frequently fails to maintain the documentation of

   medical necessity required by Medicare, TRICARE, and Medicaid.

           33.     Accordingly, these practices, on information and belief, have resulted in Pediatric

   Sleep Specialists presenting false claims to Medicare, TRICARE, and Medicaid.

                   6.      Pediatric Sleep Specialists falsely bills Medicare, TRICARE, and
                           Medicaid for tests that were not performed by its employees.

           34.     On CMS Form 1500, which must be submitted as part of any claim to Medicaid, a

   physician provider must certify “that the services listed above…were personally furnished by me

   or my employee under my personal direction.” Likewise, for Medicare and TRICARE claims, a

   physician provider must certify, on the same form, that “the services on this form

   were…personally furnished by me or were furnished incident to my professional services by my

   employee under my direct supervision, except as otherwise expressly permitted by Medicare or

   TRICARE.” CMS Form 1500.

           35.     Pediatric Sleep Specialists, on information and belief, routinely falsely bills

   Medicare, TRICARE, and Medicaid for services provided by Centura employees at Penrose-St.

   Francis Sleep Laboratory, who do not operate under the supervision of Dr. Kothari or any other

   physician employed by Pediatric Sleep Specialists.




   Medicine 479, 480 (2017), available at
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5337595/pdf/jcsm.13.3.479.pdf.

                                                       12
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 13 of 72




          D.      Retaliation against Relator.

          36.     Relator repeatedly reported, both verbally and in writing, several of these unlawful

   billing practices to her superiors, including her direct supervisor Mr. Pekurny, the Centura Human

   Resources department, and the Centura internal whistleblowing hotline.

          37.     In particular, Relator repeatedly reported that non-credentialed technologists were

   unlawfully providing services to patients without supervision. Relator specifically reported an

   incident involving a CPAP mask being inappropriately applied to a young child by a non-

   credentialed technologist.

          38.     Mr. Pekurny repeatedly dismissed Relator’s concerns, and Centura Human

   Resources and the whistleblower hotline failed to meaningfully address Relator’s reports.

          39.     On April 8, 2021, Mr. Pekurny called Relator into a meeting in the administration

   building. He informed her that, if she wished to continue her employment with Centura, she would

   have to stop raising her concerns. He also demanded complicity and participation in the unlawful

   practices detailed herein. By making participation in the unlawful practices a condition of her

   continued employment, Mr. Pekurny constructively terminated Relator. Relator immediately

   resigned, as she was unwilling to participate in the unlawful practices. Mr. Pekurny informed

   Relator that, as a consequence of her resignation, a note would be placed in her personnel file

   preventing her from ever again being re-hired to work at a Centura hospital in any capacity.

          40.     The unlawful practices described herein have, on information and belief, resulted

   in the United States of America and the State of Colorado paying out false claims made by Centura

   and Pediatric Sleep Specialists.




                                                   13
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 14 of 72




   II.     PARTIES

           A.     Plaintiffs

           41.    The United States is a plaintiff to this action on behalf of the Department of Health

   and Human Services (“HHS”), the Centers for Medicare and Medicaid Services (“CMS”), and

   other federally funded health care programs including Medicare, Medicaid, TRICARE and the

   Veterans Administration.

           42.    Medicare is a government health insurance program for those 65 years or older, and

   those with certain disabilities. 42 U.S.C. §§ 426, 426A. Medicare is administered by CMS, which

   is part of HHS. CMS contracts with private contractors referred to as “fiscal intermediaries,”

   “carriers,” and “Medicare Administrative Contractors” (“MAC”), to act as agents in reviewing and

   paying claims submitted by healthcare providers. See 42 U.S.C. § 1395h; 42 C.F.R. §§ 421.3,

   421.100. Upon information and belief, throughout the time period in which the unlawful billing

   described herein has occurred, the Medicare Part B MAC for Colorado has been Novitas Solutions,

   Inc.

           43.    In order to participate in the Medicare Program as a provider of medical or other

   health services, providers must submit an enrollment application to CMS. This application

   includes a certification that the provider will abide by all applicable Medicare laws, regulations,

   and program instructions, and that payment of a claim by Medicare is conditioned upon the claim

   and its underlying transaction complying with such laws, regulations, and program instructions.

   See Form CMS-855A, “Medicare Enrollment Application: Institutional Providers,” p.47; Form

   CMS-855B, “Medicare Enrollment Application: Clinics/Group Practices and other Suppliers,”

   p.30.

           44.    The Medicaid Program, 42 U.S.C. § 1396 et seq., is a government health insurance

   program funded jointly by the federal and state governments. Each state administers its own

                                                   14
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 15 of 72




   Medicaid program, but the state’s programs are governed by federal statutes, regulations and

   guidelines. The federal portion of states’ Medicaid payments, the Federal Medical Assistance

   Percentage, is based on a state’s per capita income compared to the national average. During the

   relevant time period, the federal portion consisted of a minimum of 50% up to a maximum of

   roughly 80%.

           45.       An entity that wishes to participate in Colorado Medicaid program (also known as

   “Health First Colorado”) as a provider of medical or other health services must sign an agreement

   which includes a certification of compliance with “all federal and state civil and criminal statutes,

   regulations and rules relating to the delivery of benefits to eligible individuals and to the

   submissions of claims for such benefits.” Colorado Department of Health Care Policy & Financing

   Provider Agreement, Form 010417a, p. 3. Additionally, the agreement specifies that the “provider

   shall request payment only for those services which are medically necessary or considered covered

   preventative services, and rendered personally by the Provider or rendered by qualified personnel

   under the Provider’s direct and personal supervision. Provider shall submit claims only for those

   benefits provided by health care personnel who meet the professional qualifications established by

   the State.” Id.

           46.       TRICARE is a federally funded program that provides medical benefits to military

   personnel, their families, retired veterans, and reservists called to duty. 32 C.F.R. § 199 et seq.

           47.       The Veterans Administration is a federally funded and administered program that

   provides medical benefits to military veterans and their dependents.

           48.       Throughout the relevant time period, Defendants submitted false or fraudulent

   claims to Medicare, Medicaid, TRICARE and other federal and state health care programs for the

   fraudulent conduct alleged herein.



                                                    15
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 16 of 72




          49.       The State of Colorado is a plaintiff in this action. Throughout the relevant time

   periods specified herein, Defendants submitted false or fraudulent claims to the Colorado Medicaid

   program for the fraudulent conduct alleged herein.

          50.       Relator Kimberly Begano is a citizen and resident of Colorado Springs, Colorado.

   She was employed as a polysomnography technologist at Penrose-St. Francis Sleep Center from

   January through April 2021. She became a Certified Polysomnographic Technologist (CPSGT) in

   March 2020, and a Registered Polysomnography Technologist (RPSGT) in September 2020; both

   of these positions are accredited through the Board of Registered Polysomnographic Technologists

   (BRPT). During her employment at Penrose-St. Francis Sleep Center, she was one of a minority

   of credentialed technologists employed to conduct sleep studies. She was scheduled for an average

   of three twelve-hour nightshifts a week. On a typical nightshift, she would be responsible for

   administering two sleep studies to two separate patients. Rather than be complicit in the ongoing

   fraud occurring at Penrose-St. Francis Sleep Center, she resigned her position in April 2021. The

   allegations in this complaint are based upon information Relator discovered through her work at

   Penrose-St. Francis Sleep Center and through her own personal efforts, observations and

   investigation.

          51.       Begano has also been a Certified Nursing Assistant (CNA) since 2017. Prior to

   working at Centura, she had numerous jobs in the medical field. From 2010 to approximately 2011,

   she ran her own medical transcription company. Between 2011 and 2018, she worked emergency

   room admissions in a hospital in New Mexico. In 2018, she began working at Parkview Medical

   Center in Pueblo, Colorado, where she was trained first as a phlebotomist, and then as a sleep

   technologist, becoming a credentialed technologist in 2019. In 2019, she worked as a credentialed

   technologist at Delta Waves, a sleep laboratory in Colorado Springs, Colorado. The next year, she



                                                   16
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 17 of 72




   worked on an as-needed basis in admissions at Mt. San Rafael Hospital in Trinidad, Colorado, and

   on a part-time basis as a sleep technologist at UCHealth Memorial Hospital in Colorado Springs,

   Colorado. She continued to work part-time at UCHealth Memorial Hospital while working at

   Penrose-St. Francis Sleep Center in 2021. Since the end of her employment at Penrose-St. Francis

   Sleep Center, she has worked at UCHealth Memorial Hospital full-time. She also works part-time

   as a sleep coordinator at Sleep Well Southern Colorado in Trinidad, Colorado.

   B.     Defendants

          52.     Defendant Centura Health Corporation (“Centura”) is a non-profit corporation

   organized under the laws of the State of Colorado, headquartered at 9100 E. Mineral Circle,

   Centennial, Colorado 8011. Centura operates seventeen hospitals in Colorado and Western

   Kansas. It also operates eight sleep laboratories on the campuses of certain of these hospitals, all

   located in Colorado.

          53.     Defendant Pediatric Pulmonary and Sleep Specialists, P.L.L.C. d/b/a Pediatric

   Sleep Specialists (“Pediatric Sleep Specialists”) is a professional limited liability company

   organized under the laws of the State of Colorado, headquartered at 6071 E. Woodmen Road, Suite

   225, Colorado Springs, Colorado 80923. On information and belief, its sole member is Dr. Viral

   Kothari.

          54.     Defendant Alain Eid, M.D. (“Dr. Eid.”) is the Medical Director of the Penrose-St.

   Francis Sleep Center. He is, on information and belief, a resident and citizen of Colorado.

          55.     Defendant Christopher Pekurny, RRT (“Mr. Pekurny”) is the Manager of

   Respiratory Services at St. Francis Hospital. Mr. Pekurny is a Registered Respiratory Therapist,

   and was Relator’s immediate supervisor. He is, on information and belief, a resident and citizen of

   Colorado.



                                                   17
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 18 of 72




          56.       Defendant Viral Kothari, M.D. (“Dr. Kothari”) is the sole member of and, on

   information and belief, the sole physician employed by Pediatric Sleep Specialists. He is, on

   information and belief, a resident and citizen of Colorado.

   III.   JURISDICTION AND VENUE

          57.       This Court has jurisdiction over the subject matter of this action pursuant to U.S.C

   §1331, 28 U.S.C. §1367, and 31 U.S.C. §3732.

          58.       This Court may exercise personal jurisdiction over Defendants pursuant to 31

   U.S.C. §3732(a) and because Defendants transact business in the District of Colorado.

          59.       Venue is proper in this District pursuant to 31 U.S.C. §3732(a) because all

   Defendants can be found in, reside in, and transact business in the District of Colorado. In addition,

   the False Claims Act violations, as alleged herein, occurred, and continue to occur, in this District.

   IV.    THE LAW

          A.        The Federal False Claims Act and Colorado Medicaid False Claims Act

          60.       The Federal False Claims Act (“FCA”) provides, among other things, that any

   person who (1) “knowingly presents, or causes to be presented, a false or fraudulent claim for

   payment or approval,” or (2) “knowingly makes, uses, or causes to be made or used, a false record

   or statement material to a false or fraudulent claim” is liable to the United States for a civil

   monetary penalty plus treble damages. 31 U.S.C. §§ 3729(a)(1)(A)-(B).

          61.       The term “knowingly” means “that a person, with respect to information (1) has

   actual knowledge of the information; (2) acts in deliberate ignorance of the truth or falsity of the

   information; or (3) acts in reckless disregard of the truth or falsity of the information.” 31 U.S.C.

   §§ 3729(b)(1)(A)(i)-(iii). Proof of specific intent to defraud is not required.         31 U.S.C. §

   3729(b)(1)(B).



                                                     18
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 19 of 72




           62.      The term “claim” means “any request or demand, whether under a contract or

   otherwise, for money or property and whether or not the United States has title to the money or

   property, that (1) is presented to an officer, employee, or agent of the United States; or (2) is made

   to a contractor, grantee, or other recipient, if the money or property is to be spent or used on the

   Government’s behalf or to advance a Government program or interest, and if the United States

   Government (a) provides or has provided any portion of the money or property requested or

   demanded; or (b) will reimburse such contractor, grantee, or other recipient for any portion of the

   money or property which is requested or demanded ….” 31 U.S.C. §§ 3729(b)(2)(A)(i)-(ii).

           63.      “[T]he term ‘material’ means having a natural tendency to influence, or be capable

   of influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).

           64.      The Colorado Medicaid False Claims Act, Colo. Rev. Stat. § 25.4-4-303.4 et seq.

   is modeled after the Federal FCA, and contains provisions similar to those quoted above. Relator

   asserts claims under the Colorado Medicaid False Claims Act for the state portion of the Medicaid

   false claims detailed in this complaint.

   V.      BACKGROUND REGARDING SLEEP TESTING

           A.       Sleep Testing in Adults

           65.      The American Academy of Sleep Medicine (AASM) recognizes a number of

   different sleep disorders affecting millions of Americans. Some of the most common of these

   disorders are insomnia, narcolepsy/excessive daytime sleepiness, restless leg syndrome, REM

   behavior disorders, and, most relevant to this case, obstructive sleep apnea (“OSA”). 4

           66.      OSA is a condition where a patient’s airways collapse during sleep, causing an

   obstruction past which the patient is unable to push adequate air. OSA causes and/or worsens


   4
     American Academy of Sleep Medicine, Practice Guidelines, aasm.org, available at https://aasm.org/clinical-
   resources/practice-standards/practice-guidelines/ (last accessed May 24, 2021).

                                                          19
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 20 of 72




   certain comorbidities. These comorbidities include heart disease, high blood pressure, and Type

   II diabetes. 5

           67.      OSA is a serious disorder. Left untreated, it can result in a number of negative

   symptoms and outcomes. These include, but are not limited to, fragmented sleep, hypoxia

   (insufficient oxygen reaching tissue), hypercapnia (excessive carbon dioxide in the blood),

   intrathoracic pressure changes, feelings of unrest, fatigue, daytime sleepiness, impairment in

   cognitive function, decline in overall quality of life, increased incidence of job-related and

   vehicular accidents, development of cardiovascular disease, and metabolic dysregulation. 6

           68.      The most common tool used to diagnose sleep disorders, particularly OSA, is

   polysomnographic diagnostic sleep testing (“PSG test”). The PSG test is a comprehensive

   recording of the biophysiological changes that occur during sleep. 7

           69.      According to the AASM’s recommendations, a PSG test should be performed after

   a clinical evaluation, including a “thorough sleep history and a physical examination that includes

   the respiratory, cardiovascular, and neurologic systems.” 8

           70.      Typically, a referring physician prescribes an initial PSG test because the physician

   suspects the patient suffers from OSA or another disorder that disrupts sleep. The initial PSG test

   involves an over-night stay at the lab. Prior to the test, electrodes are placed on the patient’s head



   5
     Timothy I. Morgenthaler, MD et al, Practice Parameters for the Medical Therapy of Obstructive Sleep Apnea, 29
   SLEEP 1031, 1031 (2006), available at https://j2vjt3dnbra3ps7ll1clb4q2-wpengine.netdna-ssl.com/wp-
   content/uploads/2017/07/PP_MedicalTherapyOSA.pdf .
   6
     Vipesh K. Kapur, MD, MPH et al., Clinical Practice Guideline for Diagnostic Testing for Adult Obstructive Sleep
   Apnea: An American Academy of Sleep Medicine Clinical Practice Guidelines, 13 Journal of Clinical Sleep
   Medicine 479, 480 (2017), available at
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5337595/pdf/jcsm.13.3.479.pdf.
   7
     See generally Clete. A. Kushida, MD, PHD, et al., Practice Parameters for the Indications for Polysomnography
   and Related Procedures: An Update for 2005, 28 Sleep 499 (2005).
   8
     Vipesh K. Kapur, MD, MPH et al., Clinical Practice Guideline for Diagnostic Testing for Adult Obstructive Sleep
   Apnea: An American Academy of Sleep Medicine Clinical Practice Guidelines, 13 Journal of Clinical Sleep
   Medicine 479, 480 (2017), available at
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5337595/pdf/jcsm.13.3.479.pdf.

                                                          20
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 21 of 72




   and body in order to monitor a number of bodily functions, including a patient’s brainwaves, heart

   rhythm, breathing, and body movement. 9

               71.    The PSG test result is called a polysomnogram. The polysomnogram is scored

   based on the Apnea Hypopnea Index (AHI) or the Respiratory Disturbance Index (RDI). Both

   AHI and RDI scores record the average number of respiratory events meeting specific criteria a

   patient experiences per hour of sleep. The first respiratory events measured are apneas, defined as

   complete cessation of breathing for ten or more seconds. The second respiratory events measured

   are hypopneas, which are commonly defined as partial breathing obstruction for ten or more

   seconds. In addition to scoring apneas and hypopneas, the RDI also scores respiratory-effort

   related arousals (RERAs), events in which difficulty breathing causes a patient to wake up during

   sleep.

               72.    Dfiagnostic criteria for OSA varies. The International Classification of Sleep

   Disorders (ICSD-3) defines the disorder as an RDI score greater than or equal to five if other OSA

   symptoms are present, or an RDI score greater than or equal to fifteen if no other OSA symptoms

   or present. Alternatively, OSA may be defined as follows: an AHI or RDI score of five to fifteen

   events per hour is classified as mild obstructive sleep apnea; fifteen to thirty events per hour as

   moderate OSA; and thirty or more events as severe OSA. However, if the patient has significant

   comorbidities (e.g. high blood pressure, heart disease), then a lower AHI score qualifies the patient

   as having moderate or severe OSA. 10




   9
       Id.
   10
        Id. at 480.

                                                    21
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 22 of 72




           73.       Once scored, the physician interprets the test and determines whether to prescribe

   a subsequent CPAP Titration study (“CPAP test”) and CPAP equipment, a medical device used to

   keep a patient’s airway open during sleep so that unobstructed breathing becomes possible. 11

           74.       A CPAP machine consists of a motor and a face mask, connected via a hose. The

   motor receives ambient air and pressurizes it. The pressurized air flows through the hose into the

   face mask, clearing obstructions and preventing the airway from collapsing or becoming blocked.

   Depending on the severity of patient’s condition, a CPAP may cover a patient’s nose only or their

   nose and mouth. 12

           75.       A CPAP study can either be a full-night titration (in which the patient wears a CPAP

   mask for the entirety of the sleep study) or a split-night titration (in which the patient wears a

   CPAP mask for only part of the sleep study). 13

           76.       If prescribed, the patient then returns to the lab for the follow-up CPAP study. The

   CPAP study is similar to the PSG test except that the CPAP study involves the patient wearing the

   CPAP device, which is a mask connected to a machine, so that the technologist can determine the

   correct amount of pressure required to eliminate the sleep disturbances and the correct fit and type

   of the mask. 14

           77.       If the CPAP sleep test is effective in reducing the patient’s symptoms, the patient

   may then be prescribed to wear a CPAP device nightly. 15




   11
      CPAP Machine: How It Works, Reasons, Uses, and Benefits for Sleep Apnea, cpap.com (March 3, 2021),
   available at https://www.cpap.com/blog/cpap-machine-works-reasons-uses/.
   12
      Id.
   13
      Id.
   14
      Id.
   15
      Id.

                                                        22
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 23 of 72




           B.       Pediatric Sleep Testing

           78.      The course of diagnosis and treatment for children with sleep disorders, including

   and especially OSA, differs in several key respects from the diagnosis and treatment of adult sleep

   disorders and OSA.

           79.      The AASM specifically recommends a “comprehensive history and physical

   examination” of a child as part of the diagnosis of a sleep disorder, including OSA. 16

           80.      The AASM recommends that, when a PSG test is performed on a child, (1) the

   child’s caretaker should be present; (2) the parent and child should be given advance orientation

   to the sleep laboratory, “including, in some cases, the application of a limited number of sensors

   to illustrate the procedure to the child,” (3) the PSG technologist should be “experienced and

   comfortable in dealing with children in the sleep laboratory environment that is child-friendly”

   (emphasis added), and (4) that the sleep specialist should provide “specific guidance and

   recommendations in advance of the PSG with regard to the child’s care during the night.” 17

           81.      Pediatric OSA, unlike adult OSA, is usually caused by adenontonsillar

   hypertrophy—that is, enlargement of the adenoids and/or tonsils. 18

           82.      Because pediatric OSA is usually caused by enlargement of the adenoids and/or

   tonsils, AASM and the American Academy of Otolaryngology-Head and Neck Surgery

   Foundation recommend tonsillectomy (removal of the tonsils) or adenotonsillectomy (removal of

   the adenoids and tonsils) as a first-line treatment for a child diagnosed with OSA as determined

   after a PSG test. Unlike in adults, CPAP is typically not indicated as the first-line treatment for




   16
      R. Nisha Aurora, MD et al., Practice Parameters for the Respiratory Indications for Polysomnography in
   Children, 34 SLEEP 379, 380-81 (2011), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3041715/.
   17
      Id. at 381.
   18
      Michelle S. King, MD et al., Improving Positive Airway Pressure Adherence in Children, 9(2) Sleep Med. Clini.
   219, 219 (2014), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4042088/.

                                                          23
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 24 of 72




   pediatric OSA. Rather, it is typically only used as a first-line treatment in obese children, or

   children who for various other reasons are poor candidates for surgical intervention. 19

             83.    Studies have shown that adenotonsillectomy and tonsillectomy have efficacy in

   improving behavior, quality of life, and polysomnographic scoring for children diagnosed with

   OSA. 20

             84.    Pediatric CPAP therapy is generally reserved for patients whose OSA symptoms

   tonsillectomy or adenotonsillectomy fail to resolve. These patients often have comorbid risk

   factors, including severe OSA, obesity, neuromuscular disorders, and craniofacial abnormalities. 21

             85.    Pediatric patients, especially pediatric patients with developmental delays,

   receiving CPAP therapy often “develop conditional anxiety because of poorly fitting equipment

   and repeated association of the sight, sound, and sensation of CPAP with discomfort from the

   mask, physiologic arousal from struggling, or both.” 22

   VI.       DEFENDANTS’ ILLEGAL AND FRAUDULENT PRACTICES

             A.     Medically Unnecessary Sleep Tests

             86.    Medicare, Medicaid and other federal health care programs only reimburse for

   medically necessary sleep tests. 42 U.S.C. § 1395y(a)(1)(A); 10 C.C.R. § 2505-10 8.76.8 (2021).

   TRICARE Policy Manual, 6010.60-M Chap. 11, Sect. 12.1, 2.3.7 (TRICARE does not cover



   19
      Ron B. Mitchell, MD et al., Clinical Practice Guideline: Tonsillectomy in Children (Update), 160 Otolaryngology-
   Head          and      Neck         Surgery       S1,       S2,        S20-S21       (2019),       available     at
   https://journals.sagepub.com/doi/pdf/10.1177/0194599818801757. (“Clinicians should recommend tonsillectomy for
   children with obstructive sleep apnea documented by overnight polysomnography”). The guidelines are publication
   of the American Academy of Otolaryngology-Head and Neck Surgery Foundation (AAO-HNSF). For purposes of
   these guidelines, “[o]besity is defined as body mass index (BMI ≥ 95th percentile.” Id. at S17. AASM has endorsed
   these guidelines. Robin Lloyd, MD et al, Letter to the Editor Regarding the Updated American Academy of
   Otalryngology-Head and Neck Surgery Foundation Clinical Practice Guideline on Tonsillectomy, 15 Journal of
   Clinical Sleep Medicine 363, 363 (2019), available at https://jcsm.aasm.org/doi/pdf/10.5664/jcsm.7650.
   20
      Michelle S. King, MD et al., Improving Positive Airway Pressure Adherence in Children, 9(2) Sleep Med. Clini.
   219, 219 (2014), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4042088/.
   21
      Id.
   22
      Id. at 221.

                                                           24
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 25 of 72




   services if the provider does not meet the Medicare conditions of participation or conditions of

   coverage for substantially comparable services).

           87.      Medical services, including PSG and CPAP tests, are excluded from coverage

   under Medicare Part B if they are “not reasonable and necessary for the diagnosis or treatment of

   illness or injury or to improve the functioning of a malformed body member[.]” 42 U.S.C. §

   1395y(a)(1)(A).

           88.      The federal government has identified fraud related to sleep testing as an area

   particularly warranting investigation and oversight. In the HHS Office of Inspector General

   Report Medicare Payments to Providers for Polysomnography Services Did Not Always Meet

   Medicare Billing Requirements, published in June 2019, the OIG reported the results of an audit

   of Medicare payments for PSG tests. OIG reviewed a sample of claims related to two-hundred

   beneficiaries made over a two-year period (2014-2015). It found that eighty-three beneficiaries

   received services that should have been disallowed. The OIG report did not specify the providers

   whose claims it reviewed. 23

           89.      The cause for these disallowances in the audit included:

                 a. Incomplete provider documentation, including failure to maintain a record of the

                    attending physician’s order and medical record;

                 b. Providers failing to provide any appropriate documentation;

                 c. Technologists lacking required credentials;

                 d. Provider billed for duplicative services; and

                 e. Services were incorrectly coded. 24


   23
      Joanne M. Chiedi (Acting Inspector General), Medicare Payments to Providers for Polysomnography Services
   Did Not Always Meet Medicare Billing Requirements, A-04-17-07069, Department of Health and Human Services
   Office of the Inspector General (June 2019), available at https://oig.hhs.gov/oas/reports/region4/41707069.asp.
   24
      Id.

                                                          25
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 26 of 72




           90.      Based on the sampling, the OIG found that, over the two year audit period, CMS

   likely overpaid for PSG tests by $269 million. Over that period, CMS made payments for PSG

   tests in the amount of $755 million. Accordingly, the estimated overpayment rate was

   approximately 35%. The OIG also found that CMS oversight of sleep laboratories had been

   insufficient.

           91.      Similarly, Health First Colorado requires that all goods and services be medically

   necessary, and that such medical necessity be properly documented and demonstrated by records

   made at the time the goods and service were provided. 25

           92.      Throughout the relevant time period, Defendant Centura has improperly billed for

   the following sleep tests:

                    •   PSG Tests: were medically unnecessary because they were, inter alia,
                        performed by non-credentialed technologists; performed without adequate
                        physician supervision; and were interpreted by non-physicians;

                    •   CPAP Tests: were medically unnecessary because they were, inter alia,
                        performed by non-credentialed technologists; were not medically necessary
                        because they were not prescribed by the referring physician; were performed
                        without adequate physician supervision; and were interpreted by non-
                        physicians.

           93.      Throughout the relevant time period, Defendant Pediatric Sleep Specialists has

   improperly billed for the following sleep tests:

                    •   PSG Tests: were medically unnecessary because they were, inter alia,
                        performed by non-credentialed technologists; performed without adequate
                        physician supervision; performed by individuals other than Defendant’s
                        employees; performed without adequate clinical assessment of the patient; and
                        performed without adequate documentation of medical necessity;



   25
      Colorado Department of Health Care Policy & Financing, General Provider Information Manual, “Benefits and
   Benefit Delivery Program” & “Record Keeping and Retention,” available at https://hcpf.colorado.gov/gen-info-
   manual#BnBdelProg and https://hcpf.colorado.gov/gen-info-manual#recordretention (hereafter “Health First
   Colorado Provider Handbook”); see also 10 CCR § 2505-10 8.100.5.D (“Medicaid should be the payer of last resort
   for payment of medically necessary goods and services furnished to clients.”).

                                                         26
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 27 of 72




                    •   CPAP Tests: were medically unnecessary because they were, inter alia,
                        performed by non-credentialed technologists, performed inappropriately on
                        pediatric patients despite not being indicated for said patients; performed
                        without adequate clinical assessment of the patient or adequate documentation
                        of medical necessity; and performed by individuals other than Defendant’s
                        employees.

                        1. Centura falsely billed Medicare and TRICARE for sleep tests
                           performed by non-physician personnel who did not possess the
                           appropriate licenses, certification or credentials.

                             a.   Medicare and TRICARE prohibit non-credentialed technologists
                                  from performing sleep tests.

           94.      The Local Coverage Determination (LCD) for Outpatient Sleep Studies (L35050)

   issued by the Medicare Administrative Contractor for Colorado (Novitas Solutions, Inc.) details

   the requirements for sleep tests to be considered reasonable and necessary.                   Among other

   requirements, PSG or CPAP tests must be attended by “an appropriately trained technologist.” 26

           95.      In order to qualify as an “appropriately trained technologist,” a technologist must

   possess one of the following credentials:

                    1. Board of Registered Polysomnographic Technologist (“BPRT”),

                             a. Certified Polysomnographic Technician (“CPSGT”),

                             b. Registered Polysomnography Technologist (“RPSGT”);

                    2. National Board of Respiratory Care (“NBRC”),

                             a. Certified Respiratory Therapist-Sleep Disorder Specialist (“CRT-
                                SDS”);

                             b. Registered Respiratory Therapist—Sleep Disorder Specialist (“RRT-
                                SDS”); or

                    3. American Board of Sleep Medicine (“ABSM”)



   26
     Local Coverage Determination L35050, effective 10/01/2015, revised 1/1/2021, available at
   https://www.cms.gov/medicare-coverage-database/details/lcd-
   details.aspx?lcdid=35050&ver=55&bc=CAAAAAAAAAAA

                                                         27
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 28 of 72




                           a. Registered Sleep Technologist (“RST”). 27

              96.   Thus, in Colorado, Medicare will not pay for diagnostic tests performed by non-

   credentialed technologists.

              97.   Similarly, TRICARE will not pay for diagnostic tests performed by non-

   credentialed technologists, because TRICARE will not cover services not covered by Medicare.

   TRICARE Policy Manual, 6010.60-M Chap. 11, Sect. 12.1, 2.3.7 (TRICARE does not cover

   services if the provider does not meet the Medicare conditions of participation or conditions of

   coverage for substantially comparable services; it also requires accreditation from a Qualified

   Accreditation Organization).

                           b.    Despite these prohibitions, Penrose-St. Francis Sleep Center
                                 routinely allows non-credentialed technologists to perform
                                 unsupervised sleep tests, then unlawfully bills Medicare and
                                 TRICARE for their services.

              98.   Non-credentialed technologists have routinely conducted sleep tests for Medicare

   and TRICARE patients at Penrose-St. Francis Sleep Center. These non-credentialed technologists

   are not qualified or properly trained to conduct these sleep tests.

              99.   Between January and April 2021, while Relator was employed as a sleep

   technologist at Penrose-St. Francis Sleep Center, Centura employed multiple sleep technologists

   who were not credentialed by any recognized credentialing body. During Relator’s employment,

   five non-credentialed technologists were employed to administer sleep tests, while only four

   credentialed technologists administered sleep tests. An additional two credentialed technologists

   were employed for the dayshift at Penrose-St. Francis Sleep Center. However, these dayshift

   technologists did not see patients.




   27
        Id.

                                                    28
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 29 of 72




           100.    The non-credentialed technologists with whom Relator worked at Penrose-St.

   Francis Sleep Center between January and April 2021 were: Judy Garner, Alma Espinoza, Bikosh

   Dhakal, Holly Tyler, and Christopher Abeyta. On information and belief, all of these non-

   credentialed technologists had worked at Penrose-St. Francis Sleep Center for at least a year. Judy

   Garner told Relator that she had worked as a non-credentialed technologist for over two-years

   without passing her credentialing examination, which she had failed on six or seven occasions.

           101.    The credentialed technologists with whom Relator worked at Penrose-St. Francis

   Sleep Center between January and April 2021 were: Jose (“Miguel”) Marquez III, Christina Opper,

   and Cristine McAfee. Cristine McAfee’s employment was terminated in February or March of

   2021.

           102.    Additionally, Penrose-St. Francis Sleep Center employed two other credentialed

   technologists who worked the dayshift: Athena Stroud, and Makalah Garner, as well as Carrie

   Tyler, a Respiratory Therapist. Athena Stroud held the position of lead technologist. None of these

   credentialed technologists saw patients. Rather, they worked Penrose-St. Francis Sleep Center’s

   day shift and scored tests. As described infra, their scoring of tests violated Medicare and

   TRICARE rules requiring that physicians interpret test results.

           103.    Judy Garner, one of the non-credentialed technologists, oversaw and, on

   information and belief, continues to oversee shift schedules at Penrose-St. Francis Sleep Center.

   Penrose-St. Francis Sleep Center is normally open seven nights a week and has three technologists

   scheduled for each night to see six patients. When an opening in a shift appears, Judy Garner

   generally fills the shift herself, rather than letting a credentialed technologist take the shift.

           104.    Attached as Exhibit 1 is the technologist schedule for March 2021, prepared by

   Judy Garner. On five of the thirty-one days in which Penrose-St. Francis Sleep Center saw patients



                                                      29
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 30 of 72




   in March 2021, no credentialed technologists were scheduled (March 4, 2021; March 5, 2021;

   March 12, 2021; March 13, 2021; and March 19, 2021). On twelve of the thirty-one days, two out

   of three of the technologists scheduled were non-credentialed technologists (March 6, 2021; March

   11, 2021; March 14, 2021; March 18, 2021; March 20, 2021; March 21, 2021; March 22, 2021,

   March 24, 2021, March 25, 2021; March 26, 2021; March 27, 2021; and March 28, 2021). On

   twelve of the thirty-one days, one non-credentialed technologist was scheduled along with two

   credentialed technologists (March 1, 2021; March 2, 2021; March 3, 2021; March 7, 2021; March

   9, 2021; March 15, 2021; March 16, 2021; March 17, 2021; March 23, 2021; March 24, 2021;

   March 29, 2021; and March 30, 2021). In the entire month of March 2021, there were only two

   nights in which only credentialed sleep technologists were scheduled (March 10, 2021; and March

   31, 2021).

              105.     Attached as Exhibit 2 is the technologist schedule for April 2021, prepared by Judy

   Garner. On ten of the twenty-nine days 28 in which Penrose-St. Francis Sleep Center saw patients

   in April 2021, no credentialed technologists were scheduled (April 2, 2021; April 3, 2021; April

   9, 2021; April 14, 2021; April 15, 2021; April 16, 2021; April 17, 2021; April 23, 2021; April 24,

   2021; and April 30, 2021). On eight of the twenty-nine days, two of the three technologists

   scheduled were non-credentialed technologists (April 1, 2021; April 7, 2021; April 8, 2021; April

   10, 2021; April 21, 2021; April 22, 2021; April 28, 2021; and April 29, 2021). On eleven of the

   twenty-nine days, one non-credentialed technologist was scheduled along with two credentialed

   technologists (April 5, 2021; April 6, 2021; April 11, 2021; April 12, 2021; April 13, 2021; April

   18, 2021; April 19, 2021; April 20, 2021; April 25, 2021; April 26, 2021; and April 27, 2021). On

   no occasion in April 2021 were only credentialed technologists scheduled for a shift. Because



   28
        Penrose-St. Francis Sleep Center was closed for Easter on April 4, 2021.

                                                              30
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 31 of 72




   Relator left her employment on April 9, 2021, even fewer shifts may have been even partially

   covered by a credentialed technologist.

          106.    Attached as Exhibit 3 is the technologist schedule sign-up sheet for May 2021,

   which was made available to staff in early March 2021. This sign-up sheet shows the first-come,

   first-served basis of scheduling sleep technologists at Penrose-St. Francis Sleep Center; that is,

   scheduling was and is essentially at random, without any consideration to the balance of

   credentialed versus non-credentialed technologists on a given shift. Additionally, it is clear from

   the first-come, first-served scheduling that Centura made no special effort to ensure that

   credentialed technologists were available on nights when Medicare and TRICARE patients were

   to be seen (as opposed to Health First Colorado and private insurance patients, who legally could

   be seen by non-credentialed technologists under adequate supervision).

          107.    Indeed, in response to the Centura management’s decision to switch Penrose--St.

   Francis Sleep Center to a two staff per night schedule for Sundays through Tuesdays, Judy Garner,

   acting as shift-manager, crossed Relator’s name out from the staffing schedule for thirteen shifts.

   As a result, as scheduled, several of these shifts would lack any credentialed sleep technologists.

          108.    While Relator worked at Penrose--St. Francis Sleep Center, credentialed

   technologists were not given any supervisory authority over the non-credentialed technologists.

          109.    On multiple occasions, Relator was told by non-credentialed technologists that her

   credentials were irrelevant, that the non-credentialed technologists were better at their jobs than

   the credentialed technologists, that the non-credentialed technologists were senior to Relator and

   other credentialed technologists, and that Centura Sleep Center had always operated using non-

   credentialed technologists.




                                                   31
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 32 of 72




          110.    Ms. Garner told Relator that she had failed her credentialing test on six or seven

   occasions over a greater than two-year period, and yet still maintained her employment. She

   stopped taking the test because she could no longer afford it (the licensure test to become an

   RPSGT costs $550). Ms. Garner stated that Mr. Pekurny had told the technologists not to worry

   about their repeated failures, and that their employment was not in danger.

          111.    During Relator’s employment at Penrose-St. Francis Sleep-St. Francis Center, there

   was simply no direct supervision of non-credentialed technologists. Credentialed technologists had

   no supervisory authority over the non-credentialed technologists, and neither Dr. Eid nor any other

   physician directly supervised the sleep studies, or was even physically present in the sleep

   laboratory. Non-credentialed technologists routinely saw patients alone, without the assistance or

   supervision of credentialed technologists.

                         c.     Penrose-St. Francis Sleep Center’s policy of allowing non-
                                credentialed sleep technologists to perform sleep tests was long-
                                standing, and Centura was aware that the practice was illegal.

          112.    Based on conversations Relator had with other sleep technologists and Mr.

   Pekurny, Penrose-St. Francis Sleep Center’s policy of allowing non-credentialed sleep to perform

   unsupervised sleep tests predated her employment by several years.

          113.    At one point during a sleep laboratory shift, Ms. Garner told Relator that Penrose-

   St. Francis Sleep Center had, some years previously, employed a credentialed technologist whose

   nominal job was to supervise the non-credentialed technologists. This credentialed technologist

   was not paid a full salary, and did not actually perform any supervisory duties. Rather, the

   credentialed technologist slept through the nightshifts. Eventually, Centura determined that it did

   not even need this fig leaf of regulatory compliance, and ceased employing a nominal supervising

   credentialed technologist.



                                                   32
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 33 of 72




          114.    The fact that Centura previously employed a supervisory credentialed technologist

   indicates that Centura was aware that allowing non-credentialed technologists to work

   independently was unlawful.

          115.    The fact that Centura (as well as Mr. Pekurny) was aware that this practice was

   unlawful is further evidenced by Mr. Pekurny’s reaction to an internal whistleblowing report. In

   February or March 2021, after Cristine McAfee’s employment with Centura Sleep Center was

   terminated due to a dispute between Ms. McAfee and a patient, Ms. McAfee reported the issue of

   non-credentialed technologists performing sleep studies to Centura’s Human Resources

   Department. Mr. Pekurny, in his role as Manager of Respiratory Services, discussed Ms. McAfee’s

   report internally with Relator and other Penrose-St. Francis Sleep Center technologists. Mr.

   Pekurny told Relator and the other technologists that “Christina had screwed us,” and instructed

   the technologists to “say as little as possible” and give non-responsive answers to HR inquiries, in

   order to avoid making a “bigger issue” of the use of non-credentialed technologists.

          116.    Mr. Pekurny’s instructions evidences his knowledge that the practice of allowing

   non-credentialed technologists to perform sleep studies was unlawful.

          117.    On March 19, 2021, Relator sent an email to Mr. Pekurny in which she raised the

   same concerns that non-credentialed technologists were seeing patients without supervision.

   Christopher Perkuney replied that, while he was looking into the issue, that “it is my understanding

   that the need for a registered tech is for stand-alone sleep labs. Plus Athena does an overview and

   critique if needed over every sleep study she scores which would be considered oversight by a

   registered tech.” A copy of this email exchanged is attached as Exhibit 4.

          118.    Mr. Pekurny’s contention that a hospital sleep laboratory, as opposed to an

   independent sleep laboratory, need not employ credentialed technologists is plainly contradicted



                                                   33
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 34 of 72




   by L35050. Further, Athena Stroud could not possibly have provided adequate supervision of the

   non-credentialed technologists, as she exclusively worked the dayshift at Penrose-St. Francis Sleep

   Center, and the sleep studies occurred exclusively during the nightshift.

                          d.   Penrose-St. Francis Sleep Center’s employment of non-
                               credentialed technologists harmed patients.

          119.    Relator personally observed how the lack of proper credentialing of sleep

   technologists harmed patients, including pediatric patients.

          120.    Because credentialed and non-credentialed technologists at Penrose-St. Francis

   Sleep Center wear identical badges, patients have no way to know that their sleep tests are being

   performed by unqualified individuals.

          121.    On the night of March 27, 2021, Penrose-St. Francis Sleep Center was staffed by

   Relator, Judy Garner (“Ms. Garner”), and Holly Tyler (“Ms. Tyler”), both of whom are non-

   credentialed. During the shift, Relator heard a pediatric patient being seen by Ms. Tyler crying for

   an extended period of time. The pediatric patient cried out for his father, saying that he would be

   a good boy if he could go home. Relator knew, based on her review of the patient’s prescription,

   that he was supposed to receive a PSG test. Relator went to the patient’s room and knocked on the

   door, offering to help Ms. Tyler. When Relator opened the door, she observed that Ms. Tyler had

   incorrectly applied a CPAP mask to the patient, who was a child between six and eight years old.

   The patient was present with his father. Relator immediately told Ms. Tyler that the patient was

   not prescribed to receive a CPAP test. Ms. Tyler told Relator to leave the room. Ms. Tyler followed

   her out of the room, and berated Relator for interfering with her patients. Ms. Tyler stated that

   Relator had no supervisory authority over her, and that “being registered is just a piece of paper.”

   Ms. Garner, who was also on duty that night, joined Ms. Tyler in berating Relator, stating that they

   were actually senior to Relator, because they had worked at Penrose-St. Francis Sleep Center for


                                                   34
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 35 of 72




   longer. Ms. Tyler persisted in refusing to remove the child from the CPAP machine for another

   forty minutes, approximately. At around 11pm, the patient’s father came out of the room, and told

   Ms. Tyler that his son was continuing to cry and could not sleep, and that he would be taking him

   home. Ms. Tyler finally agreed to remove the CPAP mask from the child to “settle him down.”

   The child finally received the PSG test he was prescribed. The child’s unprescribed CPAP test

   began at 7pm. He spent four hours receiving a medically unnecessary, unprescribed, deeply

   uncomfortable, and perhaps even traumatizing treatment.

          122.     Relator promptly reported this incident via email to Christopher Pekurny, the

   Manager of Respiratory Services for Centura Health St. Francis Hospital. This email is attached

   as Exhibit 5.

          123.     Additionally, Relator believes this incident was recorded through Penrose-St.

   Francis Sleep Center’s camera system. All sleep studies performed at Penrose-St. Francis Sleep

   Center are filmed. The recording is preserved for use in scoring the sleep studies. These recordings

   corroborate Relator’s allegations that non-credentialed sleep technologist unlawfully perform

   sleep studies on Medicare and TRICARE patients.

          124.     CPAP tests are not normally indicated for pediatric patients. As discussed supra,

   the American Academy of Sleep Medicine recommends adenotonsillectomy as the first-line

   treatment for most instances of pediatric obstructive sleep apnea. Accordingly, a credentialed

   technologist would have likely not made the same mistake Ms. Tyler did, which caused extreme

   distress and discomfort to the pediatric patient.

          125.     Relator also observed other examples of mistakes and unprofessional behavior from

   non-credentialed technologists. For example, Relator observed Ms. Garner sleeping during her

   shift on multiple occasions, ignoring the needs of her patients.



                                                       35
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 36 of 72




          126.      This culture of impunity and autonomy for non-credentialed technologists was

   pervasive during Relator’s tenure at Centura Sleep Center.

                           e.   The policy of allowing non-credentialed technologists to perform
                                sleep studies is Centura-wide.

          127.      Relator has uncovered significant evidence that the policy of allowing non-

   credentialed technologists to perform sleep studies was not limited to Penrose-St. Francis Sleep

   Center, but occurred throughout the Centura system.

          128.      Prior to working at Penrose-St. Francis Sleep Center, Relator worked as a sleep

   technologist at Parkview Medical Center in Pueblo, Colorado in 2018. Parkview, which is not

   affiliated with Centura, employed sleep technologists and physicians who were also employed at

   a now-defunct Centura sleep laboratory, St. Mary-Corwin Sleep Center. Relator recalls

   conversations with dual-employed physicians and sleep technologists—including, specifically, Dr.

   Marcel Jungueira—where it was mentioned that St. Mary-Corwin employed non-credentialed

   technologists.

          129.      After she ended her employment at Penrose-St. Francis Sleep Center, Relator

   discovered two April 2021 job postings on indeed.com, a job classifieds website, for

   Polysomnographic Technologist (i.e., sleep technologist) positions at two different Centura sleep

   laboratories: St. Thomas More and Four Corners.

          130.      In August 2021, three more job advertisements were posted on linkedin.com, also

   a job classifieds website, as well as Centura’s corporate website, for Polysomnographic

   Technologist positions at St. Thomas More, Four Corners, and Penrose-St. Francis Sleep Center.

          131.      All of these job postings state, “The Polysomnographic Technologist is an

   individual who possess the necessary skills to perform specialty diagnostic and therapeutic

   procedures related to sleep disorders. This includes, but is not limited to diagnostic


                                                   36
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 37 of 72




   polysomnography, Split Night testing, CPAP, Bi-Level, Auto-Servo Ventilation (ASV), Oxygen

   titrations, and End Tidal CO2 monitoring. The Polysomnographic Technologist must be able to

   work independently.” (emphasis added). A copy of the April 2021 Four Corners job posting is

   attached as Exhibit 6; a copy of the April 2021 St. Thomas More job posting is attached as Exhibit

   7; a copy of the August 2021 Four Corners job posting is attached as Exhibit 8; a copy of the

   August 2021 St. Thomas More job posting is attached as Exhibit 9; and a copy of the August 2021

   Penrose-St. Francis Sleep Center job posting is attached as Exhibit 10.

          132.    Despite stating that a sleep technologist must work independently, neither Centura

   sleep laboratory requires its technologists to be properly credentialed upon hire. Rather, they both

   list the following qualification: “Registered Polysomnographic Technologist Credential from the

   Board of Registered Polysomnographic Technologists (BRPT) upon hire or within 2 years.”

          133.    Accordingly, Relator alleges that Centura has a long-standing, continuous, and

   system-wide policy of hiring non-credentialed technologists to independently perform sleep tests.

          134.    On information and belief, Centura has billed Medicare and TRICARE for sleep

   tests performed non-credentialed technologists, in blatant violation of L35050. Centura was aware

   that this practice constituted a violation of the False Claims Act, or acted with reckless disregard

   or deliberate ignorance towards that fact.

          135.    On information and belief, Mr. Pekurny caused Centura to bill Medicare and

   TRICARE for sleep tests performed by non-credentialed technologists at Penrose-St. Francis Sleep

   Center. Mr. Pekurny was aware that this practice was unlawful and violated the False Claims Act,

   or acted with reckless disregard or deliberate ignorance towards that fact.

          136.    On information and belief, Dr. Eid, through his failure to properly supervise

   Penrose-St. Francis Sleep Laboratory, caused Centura to bill Medicare and TRICARE for sleep



                                                   37
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 38 of 72




   tests performed by non-credentialed technologists at Penrose-St. Francis Sleep Center. Dr. Eid

   either acted knowingly, or with reckless disregard or deliberate ignorance towards the unlawful

   billing occurring at Penrose-St. Francis Sleep Center.

                    2.     Pediatric Sleep Specialists Also Falsely Billed Medicare and
                           TRICARE for Sleep Tests Performed by Non-Physician Personnel
                           Who Did Not Possess the Appropriate Licenses, Certification or
                           Credentialing.

          137.      Pediatric Sleep Specialists regularly rents beds from Centura at the Penrose-St.

   Francis Sleep Center in order to perform sleep studies prescribed by Dr. Kothari.

          138.      Pediatric Sleep Specialists’ arrangement with Centura allows Pediatric Sleep

   Specialist to use Penrose-St. Francis Sleep Center sleep technologists to perform these sleep

   studies on pediatric patients.

          139.      Pediatric Sleep Specialists was responsible for billing its own patients’ insurance,

   including their government insurance.

          140.      The majority of Pediatric Sleep Specialists patients had Medicaid. A significant

   portion had Medicare or TRICARE.

          141.      Pediatric Sleep Specialists, through its principal Dr. Kothari, was aware that

   Centura employed non-credentialed technologists, and thus knew that many of the sleep tests it

   performed at the Penrose-St. Francis Sleep Center were performed by non-credentialed

   technologists.

          142.      This is evidenced by the fact that although under Medicare and Medicaid

   regulations, Dr. Eid, as the medical director of Penrose-St. Francis Sleep Center, was responsible

   for providing basic training to the technologists working at the Center, Dr. Kothari took it upon

   himself to invite technologists to attend so-called “March Madness” training sessions in March

   2021. These “March Madness” training sessions were held remotely by Zoom. Relator was one of


                                                     38
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 39 of 72




   two technologists to attend. The other was Jose Marquez, who, like Relator, was among the

   minority of credentialed technologists at Penrose-St. Francis Sleep Center. These “March

   Madness” training sessions were remedial in nature, expounding the most basic concepts related

   to sleep studies, including, for example, how to apply the electrodes attached to a patient’s body,

   and how to apply the paste used to attach the electrodes to the patient’s body. Any credentialed

   sleep technologist would be expected to be very familiar with the concepts explained.

          143.      During these “March Madness” training sessions, Dr. Kothari asked Relator and

   Mr. Marquez whether they were studying for their licensure tests, and when would they be taking

   those tests. This indicates that Dr. Kothari and Pediatric Sleep Specialists were and are aware that

   Penrose-St. Francis Sleep Center employed non-credentialed technologists.

          144.      Dr. Kothari and Pediatric Sleep Specialists also are aware that non-credentialed

   technologists perform sleep studies at Centura because Pediatric Sleep Specialists receives reports

   from Penrose-St. Francis Sleep Center for each PSG or CPAP test administered. These reports

   contain the name of the technologist who administered the sleep study. If the technologist is

   credentialed, their post-nominal initials will appear after their name; if the technologist is not

   credentialed, only their name will appear (that is, a report from a patient that Relator had seen

   would contain the text “Kimberly Begano, RPSGT,” while a report from a patient that a non-

   credentialed technologist like Ms. Garner had seen would read simply “Judy Garner”). Based on

   these reports, Pediatric Sleep Specialists must be aware that some of the sleep studies performed

   on its behalf at Penrose-St. Francis Sleep Center are administered by non-credentialed

   technologists.

          145.      Pediatric Sleep Specialists was thus aware that many of its sleep studies were

   performed by non-credentialed technologists, or at minimum acted in reckless disregard or willful



                                                   39
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 40 of 72




   ignorance of that fact. Nonetheless, it continued to bill Medicare and TRICARE for these sleep

   studies, in blatant violation of L35050.

          146.    Dr. Kothari was also aware that many of the sleep studies he prescribed were

   performed by non-credentialed technologists, or at a minimum acted in reckless disregard or

   willful ignorance of that fact. Nonetheless, he continued to cause Pediatric Sleep Specialists to bill

   Medicare and Tricare for these tests, also in violation of L35050.

                  3.      Centura Falsely Billed Medicare, TRICARE, and Medicaid by
                          Presenting Claims for Sleep Tests That Were Inadequately
                          Supervised, or Had Not Been Interpreted by a Physician.

                                  a. Centura provided inadequate supervision to sleep
                                     technologists.

          147.    Under Medicare and TRICARE requirements, for most diagnostic tests, including

   PSG tests, “general supervision” by a physician is required. 42 C.F.R. §410.32(b)(3). To satisfy

   the criteria for providing “general supervision,” a physician is not required to be present during

   the performance of the test. However, the physician must exercise overall direction and control

   over the procedure. The supervising physician is also responsible for the training of non-physician

   personnel who actually conduct the tests. 42 C.F.R. §410.32(b)(3)(i).

          148.    Under Health First Colorado requirements, subject to certain irrelevant exceptions,

   “a non-physician provider may provide covered goods and services only under the Direct

   Supervision of an enrolled provider who has the authority to supervise those services,

   according to the Colorado Department of Regulatory Agencies rules.” 10 CCR 2505-

   8.200.2.D(1). “Direct Supervision means the supervising provider shall be on-site during the

   rendering of services and immediately available to give assistance and direction throughout the

   performance of the service.” 10 CCR 2505-8.200.1.A.




                                                    40
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 41 of 72




          149.    Additionally, Health First Colorado requirements state that “Licensure and

   required certification for all physician services providers must be in accordance with their

   specific specialty practice act and with current state licensure statutes and regulations.” 10

   CCR 2505-8.200.2.D(1).

          150.    Under the Colorado Respiratory Therapist Practice Act, the text of which appears

   on the website of the Colorado Department of Regulatory Agencies, a sleep technologist does not

   need to be credentialed in order to legally provide technologist services. However, an unregistered

   technologist “shall only practice under the supervision of a respiratory therapist, a physician, or an

   individual exempted from the provisions of this article pursuant to paragraph (g) of this subsection

   (2).” CO Rev Stat §12-41.5-110(2)(a)(II) (2017).

          151.    An “individual exempted from the provisions of this article pursuant to paragraph

   (g) of this subsection (2)” refers to “certified pulmonary function technologists, registered

   pulmonary function technologists, registered polysomnographic technologists, or others who hold

   credentials from a nationally recognized organization as determined by the director; except that

   the scope of practice of a registered polysomnographic technologist must not exceed oxygen

   titration with pulse oximetry and noninvasive positive pressure ventilation titration.” CO Rev Stat

   §12-41.5-110(2)(g) (2017). Thus, at minimum, in order to lawfully bill Health First Colorado for

   the services of a non-credentialed technologists, those non-credentialed technologists must be

   under the direct supervision of a credentialed technologist.

          152.    During Relator’s employment with Centura, Defendant Dr. Eid was the nominal

   supervising physician for Penrose-St. Francis Sleep Center, yet he did not exercise overall

   direction and control over the sleep tests.




                                                    41
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 42 of 72




              153.     Neither Dr. Eid nor any other physician was ever present at Penrose-St. Francis

   Sleep Center during any shift that Relator worked, or, on information and belief, during any shift

   that occurred during her employment (and, again on information and belief, for some period before

   Relator’s employment, and continuing after her employment).

              154.     Neither Dr. Eid nor any other physician was available to provide guidance or

   instruction to Relator or other sleep technologists during any shift Relator worked, or, on

   information and belief, during any shift that occurred during her employment (and, again on

   information and belief, for some period before Relator’s employment, and continuing after her

   employment).

              155.     Neither Dr. Eid nor any other physician directly provided instruction 29 to Relator

   or any other technologist during any shift Relator worked (and, again on information and belief,

   for some period before Relator’s employment, and continuing after her employment).

              156.     Dr. Eid’s name did not appear on the formal Policies and Procedures of Penrose-

   St. Francis Sleep Center distributed to sleep technologists, nor did the name of any other physician.

              157.     During Relator’s employment, Dr. Eid did not once arrange for a training for the

   sleep technologists. Based on Relators’ conversations with other sleep technologists working at

   Penrose-St. Francis Sleep Center, both credentialed and non-credentialed, an official Centura-

   sponsored sleep technologist training had not occurred in years. The only trainings ever held for

   the sleep technologists were Dr. Kothari’s previously discussed “March Madness” sessions, which

   were informal, remedial in nature, non-mandatory, and poorly attended.




   29
        With the exception of the physician prescriptions ordering sleep studies.

                                                               42
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 43 of 72




          158.    Dr. Eid’s failure to provide ongoing training to the sleep technologists at Penrose-

   St. Francis Sleep Center was particularly egregious given the frequent instances of incompetence

   on the part of non-credentialed sleep technologists, as described herein.

          159.    Relator did not learn Dr. Eid’s name until near the end of her employment with

   Penrose-St. Francis Sleep Center, while she was in the process of reporting the fraudulent conduct

   described herein to Centura’s human resources department. At no point was she provided a number

   at which to reach Dr. Eid, and, on information and belief, no sleep technologist was provided with

   such a number.

          160.    As alleged supra, credentialed technologists like Relator had no supervisory

   authority over the non-credentialed technologists.

          161.    In sum, although only general supervision by a physician is required for sleep tests

   to be billed to Medicare and TRICARE, Dr. Eid’s level of supervision failed and continues to fail

   to meet even that standard. He did not exercise overall direction and control over the testing

   procedures. See 42 C.F.R. §410.32(b)(1). He also failed to fulfill his responsibility to train

   Penrose-St. Francis Sleep Center’s non-physician personnel in polysomnographic testing

   procedures. See 42 C.F.R. §410.32(b)(3)(i).

          162.    Any sleep tests performed by Penrose-St. Francis Sleep Center’s sleep

   technologists under insufficient physician supervision are not payable by Medicare and TRICARE.

          163.    Further, any sleep tests performed by Penrose-St. Francis Sleep Center’s non-

   credentialed technologists under insufficient supervision, as defined above, are not payable by

   Health First Colorado.




                                                   43
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 44 of 72




          164.    Upon information and belief, Centura has nevertheless knowingly submitted, and

   continues to submit claims to Medicare, TRICARE, and Health First Colorado for sleep tests that

   are conducted under insufficient supervision at Penrose-St. Francis Sleep Center.

          165.    On information and belief, Dr. Eid has caused and continues to cause Centura to

   submit claims to Medicare, TRICARE, and Health First Colorado for sleep tests that he knew or

   knows were conducted under insufficient supervision at Penrose-St. Francis Sleep Center.

                                 b. Centura billed for sleep studies unlawfully interpreted by
                                    non-physicians.

          166.    The Local Coverage Determination (LCD) for Outpatient Sleep Studies (L35050)

   issued by the Medicare Administrative Contractor for Colorado (Novitas Solutions, Inc.) clearly

   states that “[a]ll Sleep Studies, whether in a facility based, or OCST shall be interpreted by an

   appropriate physician with training in this area. Acceptable Board Certifications include American

   Board of Sleep Medicine or the American Board of Medical Specialties with a certification in

   Sleep Medicine.” A sleep test must be scored by an appropriately certified physician in order to be

   lawfully billable to Medicare in Colorado.

          167.    Similarly, TRICARE will not pay for sleep tests scored by anyone other than an

   appropriately certified physician, because TRICARE will not cover services not covered by

   Medicare. TRICARE Policy Manual, 6010.60-M Chap. 11, Sect. 12.1, 2.3.7 (TRICARE does not

   cover services if the provider does not meet the Medicare conditions of participation or conditions

   of coverage for substantially comparable services).

          168.    While Dr. Eid, the medical director of Penrose-St. Francis Sleep Center, does

   possess a certification from the American Board of Sleep Medicine, he does not actually score and

   interpret the results of sleep studies performed at Penrose-St. Francis Sleep Center.




                                                   44
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 45 of 72




          169.    Rather, the day-shift technologists, Athena Stroud and Carrie Tyler, were

   responsible for finalizing scores and interpreting sleep tests. These scores were signed-off by

   physicians employed at Penrose-St. Francis Sleep Center, but the interpretations were not actually

   performed by those physicians.

          170.    The fact that Athena Stroud—who is not a physician—was primarily responsible

   for interpreting sleep studies was referenced in the March 19, 2021 email exchange between

   Relator and Christopher Pekurny, in which Mr. Pekurny wrote, “Plus Athena does an overview

   and critique if needed over every sleep study she scores which would be considered oversight by

   a registered tech.” See Ex. 4.

          171.    Despite the fact that sleep tests were not actually scored and interpreted by an

   appropriately certified physicians as required, on information and belief, Centura billed and

   continues to bill Medicare and TRICARE for these tests.

          172.    On information and belief, Dr. Eid has knowingly caused and continues to cause

   Centura to bill Medicare and TRICARE for sleep test that were not billed by an appropriately

   certified physician.

                  4.      Dr. Kothari and Pediatric Sleep Specialists Routinely Billed for
                          Medically Unnecessary CPAP Tests.

          173.    Under Medicare and TRICARE, coverage is excluded for items and services that

   “are not reasonable and necessary for the diagnosis or treatment of illness or injury or to improve

   the functioning of a malformed body member.” 42 U.S.C. § 1395y(a)(1)(A).

          174.    Under Colorado Health First, “medical necessity” is defined as follows: “Medical

   necessity means a Medical Assistance program good or service:

              a. Will, or is reasonably expected to prevent, diagnose, cure, correct, reduce, or

                  ameliorate the pain and suffering, or the physical, mental, cognitive, or


                                                   45
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 46 of 72




                   developmental effects of an illness, condition, injury, or disability. This may

                   include a course of treatment that includes mere observation or no treatment at all;

               b. Is provided in accordance with generally accepted professional standards for health

                   care in the United States;

               c. Is clinically appropriate in terms of type, frequency, extent, site, and duration;

               d. Is not primarily for the economic benefit of the provider or primarily for the

                   convenience of the client, caretaker, or provider;

               e. Is delivered in the most appropriate setting(s) required by the client’s condition;

               f. Is not experimental or investigational; and

               g. Is not more costly than other equally effective treatment options.”

               10 CCR 2505-10 8.000(8).

            175.   As discussed at length above, CPAP is not indicated as a first-line treatment for the

   vast majority of pediatric patients diagnosed with OSA. Rather, the first-line treatment for pediatric

   OSA is adenotonsillectomy.

            176.   Nonetheless, rather than referring his pediatric patients to adenotonsillectomy, Dr.

   Kothari routinely orders CPAP titration for his pediatric patients following one or multiple PSG

   tests.

            177.   During the course of her employment at Penrose-St. Francis Sleep Center, Relator

   observed multiple pediatric patients who were inappropriately prescribed CPAP tests. These

   patients had never undergone adenotonsillectomy and were not otherwise good candidates for

   CPAP as a first-line treatment.

            178.   On information and belief, Pediatric Sleep Specialists has billed Medicare,

   TRICARE, and Medicaid for these medically unnecessary CPAP titrations. Pediatric Sleep



                                                    46
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 47 of 72




   Specialists knew that these tests were medically unnecessary, or acted with reckless disregard or

   deliberate ignorance towards the fact that they were medically unnecessary.

           179.     On information and belief, Dr. Kothari has caused and continues to cause Pediatric

   Sleep Specialists to bill Medicare, TRICARE, and Medicaid for these medically unnecessary

   CPAP titrations. Dr. Kothari knew that these tests were medically unnecessary, or acted with

   reckless disregard or deliberate ignorance towards the fact that they were medically unnecessary.



                    5.       Centura falsely billed Medicare, TRICARE, and Health First
                             Colorado for CPAP Tests That Were Not Prescribed by a Physician.

           180.     Penrose-St. Francis Sleep Center routinely directed its sleep technologists to

   provide CPAP testing to patients, even when that testing was not prescribed by a referring

   physician. This was accomplished by converting physician-ordered PSG tests into split-night

   titrations, in which the patient spends the first half the sleep study ( a minimum of three hours)

   undergoing PSG diagnosis, and, if certain AHI/RDI criteria are met, the second half of the sleep

   study on a CPAP machine. “Titration” refers to the administration of positive airway pressure via

   a CPAP machine; a full-night CPAP test is also referred to as a “full-night titration.”

           181.     Medicare and TRICARE permit credentialed technologists to determine whether,

   during the course of a split-night titration, a “study shows severe enough disease to merit treatment

   with CPAP.” 30 However, a sleep technologist may not simply convert a standard PSG test into a

   split-night titration without a physician’s prescription, as outlined in L35050: “The use of CPAP




   30
     Local Coverage Determination L35050, effective 10/01/2015, revised 1/1/2021, available at
   https://www.cms.gov/medicare-coverage-database/details/lcd-
   details.aspx?lcdid=35050&ver=55&bc=CAAAAAAAAAAA

                                                         47
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 48 of 72




   devices is covered under Medicare when ordered and prescribed by the licensed treating physician

   to be used in adult patients with OSA” if certain AHI/RDI criteria are met. 31

              182.   Additionally, Health First Colorado allows non-physicians to order medical

   services only under specific conditions, none of which apply to sleep technologists converting

   physician-ordered PSG tests into split-night titrations. See generally 10 CCR 2505-10 8.200 et seq.

              183.   Despite these requirements that a physician specifically order a split-night titration

   test, during Relator’s employment (and on information and belief, before and after it), Penrose-St.

   Francis Sleep Center had a policy that, unless a referring physician’s PSG order specifically stated

   that it was diagnostic only, that a sleep technologist was to convert the test into a split-night

   titration if there were sufficient AHI/RDI indications in the first three hours of a patients’ sleep

   study.

              184.   Relator was informed of this policy by the lead technologist, Athena Stroud, in a

   text message dated March 18, 2021. Ms. Stroud instructed Relator, “If it [i.e., an order] doesnt

   [sic] specifically say “diagnostic only” then split if indicated.” Relator had been inquiring about

   an physicians’ order that was coded with the CPT code 95810, which indicates a diagnostic study

   only, rather than CPT code 95811, which indicates a split-night titration, or a full-night titration.

   A copy of this text message exchange is attached as Exhibit 11.

              185.   Relator refused to comply with these improper instructions, and reported the

   instructions to Gretchen Anaya Quiroga, a Centura Human Resources officer. However, other

   technologists routinely complied with this instruction.

              186.   At the end of a sleep study, sleep technologists enter certain information into the

   “EPIC” Centura computer system to document the services performed. The information entered



   31
        Id.

                                                      48
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 49 of 72




   into the EPIC system includes the start and end time for each the study, the patient’s neck

   circumference in centimeters, and the CPT code for services rendered. On information and belief,

   the CPT code entered into the EPIC computer system is the CPT code used in the final CMS Form

   1500 used to submit claims to Medicare, TRICARE, and Health First Colorado. When a sleep

   technologist converts an ordered PSG test into a split-night titration, they enter CPT code 95811,

   rather than the ordered CPT code 95810.

           187.     This practice is profitable for Centura, because CPT code 95811 is more

   remunerative than CPT code 95810. Specifically, under the current Medicare fee schedule in MAC

   locality 0411201, which covers the entire State of Colorado, CPT code 95811 is compensated at a

   rate of $680.87 per service, while CPT code 95810 is compensated at a rate of $652.16 per

   service. 32 Under the Health First Colorado fee schedule, CPT code 95811 is compensated at a rate

   of $669.92 per service, while CPT code 95810 is compensated at a rate of $648.07 per service. 33

           188.     Centura’s improper practice of directing the Penrose-St. Francis Sleep Center sleep

   technologists to convert PSG tests into split-night titrations if indicated was particularly egregious

   given that the majority of their sleep technologists were non-credentialed and both legally and

   factually incompetent to score the sleep tests “on the fly,” as doing so requires the interpretation

   of specialized instrumentation. Furthermore, one technologist generally conducted at least two

   sleep tests on two separate patients at a time, making it all the more difficult to correctly score

   sleep tests in this way.




   32
      Physician Fee Schedule, CMS, https://www.cms.gov/Medicare/Medicare-Fee-for-Service-
   Payment/PhysicianFeeSched (last accessed 6/29/2021).
   33
      Provider Rates and Fee Schedule, Colorado Department of Health Care Policy & Financing,
   https://hcpf.colorado.gov/provider-rates-fee-schedule (last accessed 6/29/2021).

                                                         49
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 50 of 72




           189.        On information and belief, Centura knowingly falsely billed Medicare, TRICARE,

   and Medicaid for improperly converted PSG tests, or acted with reckless disregard or willful

   ignorance.

           190.        On information and belief, Dr. Eid and Mr. Pekurny caused Centura to falsely bill

   Medicare, Tricare, and Medicaid, either through deliberate policy or failure to supervise. Dr. Eid

   and Mr. Pekurny acted either knowingly, or with reckless disregard or willful ignorance.

                       6.     Dr. Kothari and Pediatric Sleep Specialists Failed to Physically
                              Examine Pediatric Patients Prior to Their Sleep Test, and
                              Inadequately Documented the Patients’ Medical Necessity.

           191.        L3050 states, “The patient is to be evaluated by a physician prior to ordering of

   [sleep] test.” 34

           192.        Further, according to the AASM’s recommendations, a PSG test should be

   performed after a clinical evaluation, including a “thorough sleep history and a physical

   examination that includes the respiratory, cardiovascular, and neurologic systems.” 35 Accordingly,

   to meet the Health First Colorado medical necessity requirement (namely, that the service is

   “provided in accordance with generally accepted professional standards for health care in the

   United States”), a PSG test must be preceded by a physical examination. 10 CCR 2505-10

   8.000(8).

           193.        Additionally, Medicare, TRICARE, and Health First Colorado require that

   documentation be maintained sufficient to prove the medical necessity of the service rendered,

   including a written prescription.


   34 34
        Local Coverage Determination L35050, effective 10/01/2015, revised 1/1/2021, available at
   https://www.cms.gov/medicare-coverage-database/details/lcd-
   details.aspx?lcdid=35050&ver=55&bc=CAAAAAAAAAAA
   35
      Vipesh K. Kapur, MD, MPH et al., Clinical Practice Guideline for Diagnostic Testing for Adult Obstructive Sleep
   Apnea: An American Academy of Sleep Medicine Clinical Practice Guidelines, 13 Journal of Clinical Sleep
   Medicine 479, 480 (2017), available at
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5337595/pdf/jcsm.13.3.479.pdf.

                                                          50
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 51 of 72




           194.    Dr. Kothari and Pediatric Sleep Specialists routinely failed to send formal

   prescription orders to Penrose-St. Francis Sleep Center. Rather, Dr. Kothari’s assistant would send

   an email to the sleep technologists containing patients’ initials and a one- to three-word description

   of the procedure ordered. For example, on March 25, 2021, the sleep technologists received the

   following “prescriptions:” “DH – Pap treatment; KB – post op pap treatment; KI – diagnostic.”

   Sleep technologists would have to interpret these informal “prescriptions.”

           195.    On April 6, 2021, Relator called Pediatric Sleep Specialists about this practice, and

   requested to receive formal orders for pediatric patients she was seeing that night. Pediatric Sleep

   Specialists refused to produce orders to her, stating that patient histories and physicals, coupled

   with the informal email “prescriptions,” were sufficient to authorize service.

           196.    Despite Pediatric Sleep Specialist’s claim that histories and physicals were all that

   were necessary to authorize a sleep study, Pediatric Sleep Specialist often failed to provide either

   or both documents for pediatric patients. When histories and physicals were provided, they were

   frequently boilerplate, indicating that they had not actually been filled out by Dr. Kothari or any

   other physician. For example, every time Relator received a patient questionnaire as part of the

   medical history, the questionnaire indicated that the pediatric patient experienced bed-wetting,

   regardless of the patients’ age.

           197.    Relator had multiple conversations with parents of pediatric patients in which the

   parent related to her the fact that the patient had never seen Dr. Kothari or any other physician in

   person, but had been prescribed a visit through telemedicine, without a prior physical examination

   of the pediatric patient.

           198.    On information and belief, Dr. Kothari and Pediatric Sleep Specialists have billed

   Medicare, TRICARE, and Medicaid for PSG tests that were not preceded by a physical



                                                    51
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 52 of 72




   examination, and for PSG and CPAP tests where medical necessity was not properly documented

   or where the documentation had been forged. Dr. Kothari and Pediatric Sleep Specialists acted

   knowingly, or with reckless disregard or deliberate ignorance.

                  7.     Pediatric Sleep Specialists Also Falsely Billed for Unsupervised Sleep
                         Tests and Falsely Certified That Those Sleep Tests Were Performed
                         by Its Employees.

          199.    While Pediatric Sleep Specialists routinely rented rooms at the Penrose-St. Francis

   Sleep Center from Centura—often as many as three beds a night—it did not actually employ its

   own sleep technologists to perform sleep tests in these rooms. Rather, Centura sleep technologists,

   including Relator, actually performed these sleep tests.

          200.    Neither Dr. Kothari nor any other physician associated with Penrose-St. Francis

   Sleep Center provided direction or guidance to the Centura sleep technologists during the

   administration of sleep tests (excepting the actual orders provided by Dr. Kothari).

          201.    The majority of Dr. Kothari’s pediatric patients were Medicaid recipients, with a

   minority receiving Medicare or TRICARE benefits. Accordingly, on information and belief, Dr.

   Kothari repeatedly submitted CMS Form 1500 in order to receive compensation for his services.

   On a CMS Form 1500 submitted for a Medicaid claim, a physician provider must certify “that the

   services listed above were medically indicated and necessary to the health of this patient and were

   personally furnished by me or my employee under my personal direction.” Likewise, for Medicare

   and TRICARE claims, a physician provider must certify that “the services on this form were

   medically necessarily and personally furnished by me or were furnished incident to my

   professional services by my employee under my direct supervision, except as otherwise expressly

   permitted by Medicare or TRICARE.” CMS Form 1500.

          202.    These certifications were knowingly false, because the sleep tests billed by Dr.

   Kothari on behalf of Pediatric Sleep Specialists were performed by Centura employees, not
                                                   52
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 53 of 72




   employees of Pediatric Sleep Specialists, and were not performed under Dr. Kothari’s supervision.

   Dr. Kothari and Pediatric Sleep Specialists acted knowingly.

          B.      Retaliation Against Relator.

          203.    Throughout her employment at Penrose-St. Francis Sleep Center, Relator

   repeatedly reported the fraudulent and unlawful activities described herein to Centura

   management.

          204.    As detailed above, in late February or early March 2021, when Ms. McAfee

   reported various unlawful conduct to Centura Human Resource in the wake of her termination, the

   sleep technologists, including Relator, were directed to avoid giving any meaningful information

   to Human Resource’s investigation into the matter. While this direction was apparently intended

   to intimidate would-be whistleblowers into silence, Relator persisted in reporting unlawful conduct

   to Human Resources and Centura management. Relator also reported the unlawful conduct to an

   internal Centura whistleblowing hotline.

          205.    On March 16, 2021, Gretchen Anaya Quiroga, Associate Relations Advisor at

   Centura Human Resources, reached out to Relator via email to investigate Ms. McAfee’s claims.

   Relator agreed to meet with Ms. Anaya Quiroga, and they scheduled a meeting for March 23,

   2021. This email exchange is attached as Exhibit 12.

          206.    On March 19, 2021, Relator emailed Christopher Pekurny, the Manager of

   Respiratory Service at Penrose-St. Francis Hospital, reporting that “there have been nights [where]

   the only techs working the shift were unregistered techs. Also, in the current and upcoming

   schedules there are many days with only unregistered techs working.” Relator informed Mr.

   Pekurny that she believed this was contrary to Medicare and Medicaid regulations. See Ex. 4.

          207.    On March 22, 2021, Mr. Pekurny replied, stating he believed there was no

   requirement that a registered technologist be present for a sleep study, and that, even if there were
                                                    53
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 54 of 72




   such a requirement, the fact that Athena Stroud reviewed the work of the unregistered sleep

   technologists would be sufficient. Id.

           208.     On or about March 23, 2021, Relator had an in-person meeting with Ms. Anaya

   Quiroga, in which she reported, inter alia, that non-credentialed technologists were working

   without oversight from credentialed technologists, that certain sleep study nights were scheduled

   with no credentialed technologists, and that Dr. Kothari frequently failed to provide formal

   prescriptions, physicals, and histories.

           209.     Relator sent several follow-up emails to Ms. Anaya Quiroga in the days following

   their meeting.

           210.     At 9:02 AM on March 24, 2021, Relator sent Ms. Anaya Quiroga an email with the

   subject line “Fw: HR Meeting, Schedules.” In this email, Relator attached the sleep technologist

   schedule, and pointed out that it included several days in which no credentialed technologists were

   scheduled. This email is attached as Exhibit 13.

           211.     At 9:04 AM on March 24, 2021, Relator sent Ms. Anaya Quiroga an email with the

   subject line “Fw: Local Coverage Determination for Polysomnography and Sleep Testing

   (L33405).” 36 In this email, Relator reiterated that Centura’s policy of allowing non-credentialed

   technologists was not permissible under Medicare rules. This email is attached as Exhibit 14.

           212.     On March 25, 2021, Relator sent Ms. Anaya Quiroga an email with the subject line

   “HR continued item re Dr Kothari and office,” in which she reiterated that Dr. Kothari and




   36
      Relator mistakenly sent Ms. Anaya Quiroga the incorrect Local Coverage Determination—L33405, which
   governs Florida, Puerto Rico, and the Virgin Islands. However, the relevant Local Coverage Determination, L35050,
   is in relevant part either substantially similar to L33405, or actually stricter—in key part, L33405 allows non-
   credentialed technologists to work under the supervision of credentialed technologists, while L35050 simply does
   not permit credentialed technologists to perform Medicare-funded sleep studies.

                                                          54
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 55 of 72




   Pediatric Sleep Specialists routinely failed to send prescription orders, and also often failed to

   provide histories and physicals. This email is attached as Exhibit 15.

          213.    On March 27, 2021, Relator reported to Christopher Perkurny, via email, an

   incident involving two unregistered technologists inappropriately providing a CPAP test to a

   pediatric patient who had not been prescribed it. This incident is more thoroughly described supra.

   See Ex. 4.

          214.    In response to this email, Mr. Pekurny directed Relator to meet with him and Johan

   Kuitse on April 8, 2021. Mr. Pekurny’s email is attached as Exhibit 16. Johan Kuitse is the Director

   of Respiratory Therapy at Penrose-St. Francis Hospital. In Relator’s understanding, Mr. Kuitse is

   Mr. Pekurny’s superior.

          215.    At the April 8, 2021 morning meeting, Relator reiterated her concerns about non-

   credentialed technologists administering PSG and CPAP tests, as well as her concerns about Dr.

   Kothari’s practices.

          216.    Mr. Pekurny and Mr. Kuitse told Relator that allowing non-credentialed

   technologists to perform sleep studies was a long-standing Centura practice, and that it would

   continue; They also told Relator that her concerns regarding lack of supervision of the non-

   credentialed technologists were unfounded, because (1) Dr. Eid, the Medical Director of Penrose-

   St. Francis Sleep Center, was always “a phone call away,” and (2) there were always registered

   respiratory therapists on staff at St. Francis Hospital during the hours of operation of the Penrose-

   St. Francis Sleep Center.

          217.    These explanations are not factually or legally sufficient to justify the illegal

   conduct described herein.




                                                    55
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 56 of 72




          218.    First, as described above, Dr. Eid functioned as essentially an absentee Medical

   Director. Relator did not even know his name until the April 8, 2021 meeting, much less possess

   a number at which to reach him. Dr. Eid provided nothing resembling the direct supervision

   required by Health First Colorado, or the general supervision required by Medicare and TRICARE.

          219.    Second, the registered respiratory therapists Mr. Pekurny and Mr. Kuitse referred

   also did not provide anything resembling supervision, factually or legally. The registered

   respiratory therapists did not work in the same building as Penrose-St. Francis Sleep Center. The

   sleep technologists at Penrose-St. Francis Sleep Laboratory were never instructed to contact the

   respiratory therapists for assistance, and, to Relator’s knowledge, were never even provided a

   number at which to reach them.

          220.    Relator remained resolute in her position that Penrose-St. Francis Sleep Center’s

   use of non-credentialed technologists was unlawful and fraudulent. When Mr. Kuitse heard Relator

   use the word “fraudulent,” he became agitated. Mr. Kuitse and Mr. Pekurny informed Relator that

   she would have to accept the way things were done at Penrose-St. Francis Sleep Center.

          221.    Relator asked Mr. Kuitse and Mr. Pekurny if she was being disciplined. Mr. Kuitse

   and Mr. Pekurny would not give Relator a straight answer on this question, but made it clear that

   her employment was contingent on her dropping the matter.

          222.    Relator understood that she was being constructively terminated, as her

   employment was conditioned in her complicity and participation in fraud. Because she was

   unwilling to be complicit, she immediately resigned.

          223.    In response to her resignation, Mr. Kuitse and Mr. Pekurny informed Relator that a

   note would be placed in her personnel file that would prevent her from ever again being hired by

   a Centura hospital in any capacity.



                                                  56
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 57 of 72




   VII.   THE FALSE CLAIMS

          A.      Federal Health Care Program Claims Submission

          224.    Providers submit claims to Medicare, TRICARE, and Medicaid and other federal

   health care programs for reimbursement for medical services and equipment by using CMS Form

   1500. Most claims are filed electronically. The claim form has different numbered fields that the

   provider must fill in such as the patient’s name, address, insured’s I.D. number, referring

   physician’s name and patient’s diagnosis.

          225.    The form also requires the provider to list all Current Procedural Technology

   (“CPT”) codes for the medical services provided (field number 24D on the claim form) and the

   “Rendering Provider” NPI number for each CPT code (field number 24J). CPT codes are

   published annually by the American Medical Association (AMA) in a CPT Manual and are

   composed of a five digit numeric codes (which sometimes include a numeric modifier) used to

   describe procedures, services and supplies.

          226.    In addition, the provider must sign the form (field number 31) and attest to the

   certifications found on the reverse side of CMS Form 1500. These certifications include the

   following relevant statements:

                  SIGNATURE OF PHYSICIAN OR SUPPLIER
                  (MEDICARE, TRICARE, FECA AND BLACK LUNG)

                  In submitting this claim for payment from federal funds, I certify
                  that (1) the information on this form is true, accurate, and complete;
                  (2) I have familiarized myself with all applicable laws, regulations,
                  and programs instructions, which are available from the Medicare
                  contractor; (3) I have provided or will provide sufficient information
                  required to allow the government to make an informed eligibility
                  and payment decision; (4) this claim, whether submitted by me or
                  on my behalf by my designated billing company, complies with all
                  Medicare and/or Medicaid laws, regulations, and program
                  instructions for payment including but not limited to the Federal
                  anti-kickback statue and Physician Self-Referral law (commonly
                  known as Stark law); (5) the services on this form were medically

                                                   57
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 58 of 72




                  necessary and personally furnished by me or were furnished incident
                  to my professional service by my employee under my direct
                  supervision, unless expressly permitted by Medicare or TRICARE;
                  (6) for each service rendered incident to my professional service, the
                  identity (legal name and NPI, license #, or SSN) of the primary
                  individual rendering each service is reported in the designated
                  section. For services to be considered ‘incident to’ a physician’s
                  professional services, (1) they must be rendered under the
                  physician’s direct supervision by his/her employee, (2) they must be
                  an integral, although incidental part of a covered physician service,
                  (3) they must be of kinds commonly furnished in physician’s
                  offices, and (4) the services of non-physicians must be included on
                  the physician’s bills.

                  …

                  Medicaid Payments (Provider Certification)

                  I hereby agree to keep such records as are necessary to disclose fully
                  the extent of services provided to individuals under the State’s Title
                  XIX plan and to furnish information regarding any payments
                  claimed for providing such services as the State Agency or Dept. of
                  Health and Human Services may request.

                  …

                  Signature of Physician (Or Supplier): I certify that the services
                  listed above were medically indicated and necessary to the health of
                  this patient and were personally furnished by me or my employee
                  under my personal direction.

                  ….

                  NOTICE: This is to certify that the foregoing information is true,
                  accurate and complete. I understand that payment and satisfaction
                  of this claim will be from Federal and State funds, and that any false
                  claims, statements, or documents, or concealment of a material fact,
                  may be prosecuted under applicable Federal or State laws.

   CMS Form 1500.

          227.    Thus, as stated above, the form specifically contains a “medical necessity”

   certification stating that the services were “medically indicated and necessary for the health of the




                                                    58
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 59 of 72




   patient.” Also, the provider must certify that all the information on the form is true, accurate and

   complete.

          228.    Additionally, in order to participate in the Medicare Program as a provider of

   medical or other health services, providers must submit an enrollment application to CMS. This

   application includes a certification that the provider will abide by all applicable Medicare laws,

   regulations, and program instructions, and that payment of a claim by Medicare is conditioned

   upon the claim and its underlying transaction complying with such laws, regulations, and program

   instructions. See Form CMS-855A, “Medicare Enrollment Application: Institutional Providers,”

   p.47; Form CMS-855B, “Medicare Enrollment Application: Clinics/Group Practices and other

   Suppliers,” p.30.

          229.    Additionally, an entity that wishes to participate in Colorado Medicaid program

   (also known as “Health First Colorado”) as a provider of medical or other health services must

   sign an agreement which includes a certification of compliance “all federal and state civil and

   criminal statutes, regulations and rules relating to the delivery of benefits to eligible individuals

   and to the submissions of claims for such benefits.” Colorado Department of Health Care Policy

   & Financing Provider Agreement, Form 010417a, p. 3. Additionally, the agreement specifies that

   the “provider shall request payment only for those services which are medically necessary or

   considered covered preventative services, and rendered personally by the Provider or rendered by

   qualified personnel under the Provider’s direct and personal supervision. Provider shall submit

   claims only for those benefits provided by health care personnel who meet the professional

   qualifications established by the State.” Id.




                                                    59
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 60 of 72




          B.      Defendants Knowingly Submitted or Caused The Submission Of False
                  Claims For Medically Unnecessary Sleep Tests.

          230.    Upon information and belief, as alleged above, Defendants knowingly caused the

   submission of false claims to the United States government and the State of Colorado by billing

   for medically unnecessary sleep tests, or for tests that otherwise violated Federal and State law,

   and were not in compliance with Medicare, TRICARE, or Health First Colorado regulations and

   Local Coverage Determinations.

          231.    Billing the United States government and State of Colorado for medically

   unnecessary sleep tests was false and fraudulent and caused the government to overpay.

          232.    Upon information and belief, the specific claims submitted by Centura to the United

   States government and the State of Colorado were false and fraudulent for the following reasons:

                         (1)     Provider’s “true, accurate, and complete” certification: the
                         certification on the reverse side of the CMS-1500 form that states that the
                         information on the form are true, accurate, and complete was false and
                         fraudulent, because (a) multiple certifications on the form were falsely
                         attested to, and (b) the forms, in some instances, involved the use of CPT
                         codes for procedures that no physician had prescribed;

                         (2)     Provider’s compliance certification: the certifications on the
                         reverse side of the CMS-1500 form that states that the claim complies with
                         “all Medicare and/or Medicaid laws, regulations, and program instructions
                         for payment”; on page 47 of the CMS-855A form that states the same; and
                         on page 3 of Form 010417a that states that provider will comply with all
                         “federal and state civil and criminal statutes, regulations and rules relating
                         to the delivery of benefits to eligible individuals and to the submission of
                         claims for such benefits” were false and fraudulent, because, as alleged
                         above, Centura violated numerous Medicare and Medicaid laws and
                         regulations in relation to claims;

                         (3)     Provider’s medical necessity certification: the certifications on
                         the reverse side of the CMS-1500 form that states that the medically
                         indicated and necessary for the health of the patient; on page 47 of the CMS-
                         855A form that states the same; and on page 3 of Form 010417a that states
                         the same were false and fraudulent, because, as alleged above, sleep studies
                         were performed by non-credentialed technologists, performed without
                         adequate physician supervision, and performed without physician
                         prescription;
                                                  60
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 61 of 72




                         (4)    Provider’s supervision certification: the certifications on the
                         reverse side of the CMS-1500 form that states that the services were
                         performed under the supervision of a physician; on page 47 of the CMS-
                         855A form that states the same; and on page 3 of Form 010417a that states
                         same were false and fraudulent, because, as alleged above, technologists
                         performing sleep studies were inadequately supervised.

          233.           Upon information and belief, the specific claims submitted by Pediatric

   Sleep Specialists to the United States government and the State of Colorado were false and

   fraudulent for the following reasons:

                         (1)     Provider’s “true, accurate, and complete” certification: the
                         certification on the reverse side of the form that states that the information
                         on the CMS-1500 form are true, accurate, and complete was false and
                         fraudulent, because multiple certifications on the form were falsely attested
                         to;

                         (2)     Provider’s compliance certification: the certifications on the
                         reverse side of the CMS-1500 form that states that the claim complies with
                         “all Medicare and/or Medicaid laws, regulations, and program instructions
                         for payment”; on page 47 of the CMS-855A form that states the same; and
                         on page 3 of Form 010417a that states that provider will comply with all
                         “federal and state civil and criminal statutes, regulations and rules relating
                         to the delivery of benefits to eligible individuals and to the submission of
                         claims for such benefits” were false and fraudulent, because, as alleged
                         above, Pediatric Sleep Specialists violated numerous Medicare and
                         Medicaid laws and regulations in relation to claims;

                         (3)     Provider’s documentation certifications: the certifications on the
                         reverse side of the CMS-1500 form that state that Pediatric Sleep Specialists
                         would provide sufficient records to the United States government to allow
                         it to make a payment determination, and that it would retain documents
                         pursuant to Colorado’s Title XIX plan were false and fraudulent, because,
                         as alleged above, Pediatric Sleep Specialists failed to create sufficient
                         records and/or falsified records;

                         (4)     Provider’s medical necessity certification: the certifications on
                         the reverse side of the CMS-1500 form that states that the medically
                         indicated and necessary for the health of the patient; on page 47 of the CMS-
                         855A form that states the same; and on page 3 of Form 010417a that states
                         the same were false and fraudulent, because, as alleged above, sleep studies
                         were performed without a prior physical examination; performed by non-
                         credentialed technologists, performed without adequate physician

                                                  61
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 62 of 72




                          supervision; and performed despite not being medically indicated for
                          pediatric patients;

                          (5)     Provider’s supervision certification: the certifications on the
                          reverse side of the CMS-1500 form that states that the services were
                          performed under the supervision of a physician by his employees; on page
                          47 of the CMS-855A form that states the same; and on page 3 of Form
                          010417a that states the same were false and fraudulent, because, as alleged
                          above, technologists performing sleep studies were inadequately supervised
                          and were not Pediatric Sleep Specialists’ employees.

          234.    In sum, upon information and belief, Defendants submitted or caused to be

   submitted false and fraudulent claims during the relevant time period to Medicare, TRICARE, and

   Health First Colorado. The claims to Medicare would have been submitted through the Medicare

   Administrative Contractor during the relevant time period, Novitas Solutions, Inc.

          235.    Given the proportion of claims likely to be false, and the compensation per claim,

   Defendants have likely submitted millions, if not tens of millions, of dollars of false claims to the

   United States government and the State of Colorado.

   VIII. DAMAGES

          236.    While the information required to precisely determine the damages incurred by the

   United States of America and the State of Colorado is uniquely in the possession of Defendants,

   Relator has made a partial estimate of the damages, based on a number of assumptions.

          237.    Relator seeks only to estimate the damages to Medicare and TRICARE with regards

   to sleep studies performed by non-credentialed technologists. While the remaining damages would

   likely be quite significant, it would be too difficult for Relator to give a meaningful estimation of

   these damages, given the amount of relevant information uniquely in Defendants’ possession.

          238.    Relator assumes for purposes of her damage estimate that March and April 2021

   were representative months with regards to Penrose-St. Francis Sleep Center’s scheduling of non-

   credentialed sleep technologists to perform sleep studies.

                                                    62
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 63 of 72




           239.    Penrose-St. Francis Sleep Center sees six patients a night, seven days a week. It is

   usually staffed by three sleep technologists per night, who each see two patients. Relators assumes,

   for purposes of her damage estimate, that each of Centura’s eight currently operating sleep

   laboratories sees six patients a night, seven days a week, and is staffed by three sleep technologists

   at any given time. Relator also assumes for purposes of her damage estimate that St. Mary-Corwin,

   the Centura sleep laboratory that has been defunct since, on information and belief, 2018, operated

   in a similar fashion.

           240.    Relator assumes for purposes of her damage estimate that each of the eight currently

   operating Centura sleep laboratories staffs shifts with non-credentialed technologist at a similar

   rate as Penrose-St. Francis Sleep Center. Relator also assumes for purposes of her damage estimate

   that St. Mary-Corwin operated in a similar fashion.

           241.    Relator conservatively assumes for purposes of her damage estimate that each sleep

   study conducted at any Centura location was a PSG test, compensated by Medicare and TRICARE

   at a rate of $652.16 per test.

           242.    Relator estimates that approximately half of the patients Penrose-St. Francis Sleep

   Center saw were insured by Medicare or TRICARE. Relator assumes that this ratio holds true at

   the other Centura sleep laboratories.

           243.    Based on the March and April schedules in Relator’s possession (Exs. 1-2),

   approximately 60% of Penrose-St. Francis Sleep Center’s sleep studies were performed by non-

   credentialed technologists.

           244.    Penrose-St. Francis Sleep Center performs approximately 2190 sleep studies a year.

           245.    Accordingly, approximately 1314 of these tests are performed by non-credentialed

   sleep technologists (2190 * .6).



                                                    63
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 64 of 72




             246.   Approximately 657 of the tests performed by non-credentialed sleep technologists

   at Penrose-St. Francis Sleep Center are billed to Medicare or TRICARE per year. (1314 / 2). All

   of these are false claims.

             247.   Penrose-St. Francis Sleep Center thus overbills Medicare and TRICARE

   approximately $428,469.12 per year (657 * $652.16) through the use of non-credentialed sleep

   technologists alone.

             248.   Over the six-year limitations period, Penrose-St. Francis Sleep Center has

   overbilled Medicare and Tricare approximately $2.57 million ($428,469.12 * 6).

             249.   Over that same period, the currently operating sleep laboratories have overbilled

   Medicare and TRICARE approximately $20.56 million ($2.57 million * 8). During that same

   period, Centura submitted, on behalf of these sleep laboratories, approximately 31,536 false

   claims.

             250.   Additionally, between 2015 and its closure in 2018, St. Mary Corwin would have

   overbilled Medicare and TRICARE approximately $1.28 million ($428,469.12 * 3). During that

   same period, Centura submitted, on behalf of St. Mary-Corwin, approximately 1,971 false claims

   (657 *3).

             251.   Accordingly, over the limitations period, Defendants have overbilled Medicare and

   TRICARE by approximately $21.84 million based solely on their use of non-credentialed sleep

   technologists ($20.56 million + $1.28 million). Over the limitations period, Defendants have

   submitted approximately 33,507 false claims (31,536 + 1,971). The majority of these claims would

   have been submitted by Centura; a small portion would have been submitted by Pediatric Sleep

   Specialists.

             252.   Trebled, these damages would be $65.52 million.



                                                   64
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 65 of 72




           253.     Assuming the award of the minimum of $11,665 per claim in statutory damages,

   statutory damages would be approximately $390.86 million ($11,665 * 33,507).

           254.     In total, Relator’s estimates of the damages solely related to the employment of

   non-credentialed technologists would be $456.38 million. This figure is consistent with the high

   rate of fraud the HHS Office of Inspector General found throughout the sleep testing industry in

   its June 2019 Report Medicare Payments to Providers for Polysomnography Services Did Not

   Always Meet Medicare Billing Requirements. 37

   IX.     COUNTS

                                                 Count I
                                         Federal False Claims Act
                                 31 U.S.C. §§3729(a)(1)(A), and (a)(1)(B)
                                Against Centura, Dr. Eid, and Mr. Pekurny
                                  For Medically Unnecessary Sleep Tests

           255.     Relator alleges and incorporates by reference all of the preceding paragraphs of this

   Complaint as if fully set forth herein.

           256.     Relator seeks relief against Defendants under the False Claims Act, 31 U.S.C.

   §3729(a)(1)(A) and (a)(1)(B).

           257.     Through the acts described above, Defendants knowingly presented or caused to be

   presented false or fraudulent claims to the United States Government for payment or approval.

           258.     Through the acts described above, Defendants knowingly made, used, or caused to

   be made or used false or fraudulent records and statements, material to a false or fraudulent claim

   to the United States for payment or approval.




   37
     Joanne M. Chiedi (Acting Inspector General), Medicare Payments to Providers for Polysomnography Services
   Did Not Always Meet Medicare Billing Requirements, A-04-17-07069, Department of Health and Human Services
   Office of the Inspector General (June 2019), available at https://oig.hhs.gov/oas/reports/region4/41707069.asp.

                                                          65
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 66 of 72




          259.    The United States Government and its officers, employees and agents, unaware of

   the falsity of the records, statements, and claims made or caused to be made by the Defendants

   paid and continues to pay claims that would not be paid but for the Defendants’ illegal and

   fraudulent practices.

          260.    By reason of the acts of Defendants, the United States has been damaged, and

   continues to be damaged, and therefore is entitled to multiple treble damages under the False

   Claims Act in an amount to be determined at trial, plus a civil per claim penalty in the maximum

   amount permitted by law for each violation.

                                                Count II
                                       Federal False Claims Act
                                31 U.S.C. §§3729(a)(1)(A), and (a)(1)(B)
                           Against Pediatric Sleep Specialists and Dr. Kothari
                                For Medically Unnecessary Sleep Tests

          261.    Relator alleges and incorporates by reference all of the preceding paragraphs of this

   Complaint as if fully set forth herein.

          262.    Relator seeks relief against Defendants under the False Claims Act, 31 U.S.C.

   §3729(a)(1)(A) and (a)(1)(B).

          263.    Through the acts described above, Defendants knowingly presented or caused to be

   presented, false or fraudulent claims to the United States Government for payment or approval.

          264.    Through the acts described above, Defendants knowingly made, used, or caused to

   be made or used false or fraudulent records and statements, material to a false or fraudulent claim

   to the United States for payment or approval.

          265.    The United States Government and its officers, employees and agents, unaware of

   the falsity of the records, statements, and claims made or caused to be made by the Defendants




                                                   66
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 67 of 72




   paid and continues to pay claims that would not be paid but for the Defendants’ illegal and

   fraudulent practices.

          266.    By reason of the acts of Defendants, the United States has been damaged, and

   continues to be damaged, and therefore is entitled to multiple treble damages under the False

   Claims Act in an amount to be determined at trial, plus a civil per claim penalty in the maximum

   amount permitted by law for each violation.

                                              Count III
                                      Federal False Claims Act
                                      31 U.S.C. §§3729(a)(1)(C)
                                Against All Defendants for Conspiracy

          267.    Relator alleges and incorporates by reference all of the preceding paragraphs of this

   Complaint as if fully set forth herein.

          268.    Relator seeks relief against all Defendants under the False Claims Act, 31 U.S.C.

   §3729(a)(1)(C).

          269.    Through the acts described above, Defendants conspired together and acted in

   concert to allow Pediatric Sleep Specialists to knowingly present or cause to be presented, false or

   fraudulent claims to the United States for payment or approval.

          270.    The United States Government and its officers, employees and agents, unaware of

   the falsity of the records, statements, and claims made or caused to be made by the Defendants,

   paid and continues to pay claims that would not be paid but for the Defendants’ illegal and

   fraudulent practices.

          271.    By reason of the acts of Defendants, the United States has been damaged, and

   continues to be damaged, and therefore is entitled to multiple treble damages under the False

   Claims Act in an amount to be determined at trial, plus a civil per claim penalty in the maximum

   amount permitted by law for each violation.

                                                   67
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 68 of 72




                                             Count IV
                                      Federal False Claims Act
                                        31 U.S.C. §§3730(h)
                             Against Centura, Dr. Eid, and Mr. Pekurny
                                          For Retaliation

          272.    Relator engaged in lawful acts done in furtherance of the goal of preventing

   violations of the Federal False Claims Act, namely (1) reporting said violations and (2) refusing

   to participate in them.

          273.    Centura harassed and discriminated against Relator for her lawful protected

   activity, by conditioning her continued employment on (1) ceasing to report False Claims Act

   violations, and (2) participating in those violations. Because of this harassment and discrimination,

   Relator was forced to leave her employment.

          274.    By reason of the acts of Defendants, Relator was damaged through the loss of

   income, and is therefore entitled to double back-pay with interest under the the False Claims Act

   in an amount to be determined at trial, plus litigation costs and reasonable attorney’s fees.

                                              Count V
                               Colorado Medicaid False Claims Act
                       Colo Rev. Stat. § 25.5-4-305(1)(a) and 25.5-4-305(1)(b)
                            Against Centura, Dr. Eid, and Mr. Pekurny
                              For Medically Unnecessary Sleep Tests

          275.    Relator alleges and incorporates by reference all of the preceding paragraphs of this

   Complaint as if fully set forth herein.

          276.    Relator seeks relief against Defendants under the Colorado Medicaid False Claims

   Act, Colo. Rev. Stat. § 25-4-303.5 et seq.

          277.    Through the acts described above, Defendants knowingly presented or caused to be

   presented, false or fraudulent Medicaid claims to Colorado for payment or approval.




                                                    68
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 69 of 72




          278.    Through the acts described above, Defendant knowingly made, used, or caused to

   be made or used false records and statements, to get false or fraudulent Medicaid claims allowed

   or paid by Colorado.

          279.    As a result, Colorado monies were lost through the payment of such false and

   fraudulent claims.

          280.    The State of Colorado has been damaged, and continues to be damaged, in an

   amount to be determined at trial, because of the acts of Defendants.

                                               Count VI
                                Colorado Medicaid False Claims Act
                        Colo Rev. Stat. § 25.5-4-305(1)(a) and 25.5-4-305(1)(b)
                         Against Pediatric Sleep Specialists and Dr. Kothari
                               For Medically Unnecessary Sleep Tests

          281.    Relator alleges and incorporates by reference all of the preceding paragraphs of this

   Complaint as if fully set forth herein.

          282.    Relator seeks relief against Defendants under the Colorado Medicaid False Claims

   Act, Colo. Rev. Stat. § 25-4-303.5 et seq.

          283.    Through the acts described above, Defendants knowingly presented or caused to be

   presented, false or fraudulent Medicaid claims to Colorado for payment or approval.

          284.    Through the acts described above, Defendant knowingly made, used, or caused to

   be made or used false records and statements, to get false or fraudulent Medicaid claims allowed

   or paid by Colorado.

          285.    As a result, Colorado monies were lost through the payment of such false and

   fraudulent claims.

          286.    The State of Colorado has been damaged, and continues to be damaged, in an

   amount to be determined at trial, because of the acts of Defendants.



                                                   69
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 70 of 72




                                             Count VII
                                 Colorado Medicaid False Claims Act
                                  Colo Rev. Stat. § 25.5-4-305(1)(c)
                                       Against All Defendants
                                For Medically Unnecessary Sleep Tests

          287.    Relator alleges and incorporates by reference all of the preceding paragraphs of this

   Complaint as if fully set forth herein.

          288.    Relator seeks relief against Defendants under the Colorado Medicaid False Claims

   Act, Colo. Rev. Stat. § 25-4-303.5 et seq.

          289.    Through the acts described above, Defendants conspired together and acted in

   concert to allow Pediatric Sleep Specialists to knowingly present or cause to be presented, false or

   fraudulent claims to the State of Colorado for payment or approval.

          290.    Through the acts described above, Defendant knowingly made, used, or caused to

   be made or used false records and statements, to get false or fraudulent Medicaid claims allowed

   or paid by Colorado.

          291.    As a result, Colorado monies were lost through the payment of such false and

   fraudulent claims.

          292.    The State of Colorado has been damaged, and continues to be damaged, in an

   amount to be determined at trial, because of the acts of Defendants.

                                            Count VII
                                Colorado Medicaid False Claims Act
                                  Colo Rev. Stat. § 25.5-4-306(7)
                             Against Centura, Mr. Pekurny, and Dr. Eid
                                          For Retaliation

          293.    Relator engaged in lawful acts done in furtherance of the goal of preventing

   violations of the Colorado Medicaid False Claims Act, namely (1) reporting said violations and

   (2) refusing to participate in them.



                                                   70
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 71 of 72




             294.   Centura harassed and discriminated against Relator for her lawful protected

   activity, by conditioning her continued employment on (1) ceasing to report Colorado Medicaid

   False Claims Act violations, and (2) participating in those violations. Because of this harassment

   and discrimination, Relator was forced to leave her employment.

             295.   By reason of the acts of Defendants, Relator was damaged through the loss of

   income, and is therefore entitled to double back-pay with interest under the Colorado Medicaid

   False Claims Act in an amount to be determined at trial, plus litigation costs and reasonable

   attorney’s fees.

                                                PRAYER

             WHEREFORE, Relator prays for judgment against the Defendants as follows:

             296.   That Defendants cease and desist from violating 31 U.S.C. §3729, et seq., and Colo.

   Rev. Stat.. §25.5-4-303.5 et seq.;

             297.   That this Court enter judgment against Defendants in an amount equal to three times

   the amount of damages the United States has sustained because of Defendants’ actions, plus a civil

   penalty of not less than $11,665 and not more than $23,331 for each violation of 31 U.S.C. §3729,

   et seq;

             298.   That this Court enter judgment against Defendants in amount equal to three times

   the amount of damages the State of Colorado has sustained because of Defendants’ actions, plus a

   civil penalty of not less than $5,500 and not more than $11,000 for each violation of Colo. Rev.

   Stat.. §25.5-4-303.5 et seq..

             299.   That Relator be awarded the maximum amount allowed pursuant to §3730(d) of the

   Federal False Claims Act, and §25.5-4-306(4) of the Colorado Medicaid False Claims Act;

             300.   That Relator be awarded double backpay with interest under §3730(h) of the

   Federal False Claims Act, and §25.5-4-306(4) of the Colorado Medicaid False Claims Act;
                                                    71
Case 1:21-cv-02697-WJM-SKC Document 1 Filed 10/05/21 USDC Colorado Page 72 of 72




           301.     That Relator be awarded all costs of this action, including reasonable attorneys’

   fees and expenses; and

           302.     That Relator recover such other relief as the Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby demands a

   trial by jury.

   Dated: October, 4, 2021




                                                         BERGER MONTAGUE, P.C.
                                                         Sherrie R. Savett,
                                                         William H. Fedullo,
                                                         1818 Market Street, Suite 3600
                                                         Philadelphia, PA 19103-6305
                                                         Telephone: (215) 875-3071
                                                         Facsimile: (215) 875-5715




                                                    72
